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      1                   IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
      2                            MARSHALL DIVISION

      3   SOLAS OLED LTD.,                    )(    CIVIL ACTION NO.
                                              )(    2:19-CV-152-JRG
      4         PLAINTIFF,                    )(
                                              )(
      5         VS.                           )(
                                              )(
      6   SAMSUNG DISPLAY CO., LTD.,          )(
          SAMSUNG ELECTRONICS CO.,            )(    MARSHALL, TEXAS
      7   LTD., SAMSUNG ELECTRONICS           )(    MARCH 1, 2021
          AMERICA, INC.,                      )(    2:09 P.M.
      8                                       )(
                DEFENDANTS.                   )(
      9

     10                         TRANSCRIPT OF JURY TRIAL

     11               BEFORE THE HONORABLE JUDGE RODNEY GILSTRAP

     12                   UNITED STATES CHIEF DISTRICT JUDGE

     13

     14   APPEARANCES:

     15   FOR THE PLAINTIFFS:

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     19                         United States District Court
                                Eastern District of Texas
     20                         Marshall Division
                                100 E. Houston
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     22

     23
          (Proceedings recorded by mechanical stenography, transcript
     24   produced on a CAT system.)

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01:18:25    1                     P R O C E E D I N G S

01:18:25    2           (Jury out.)

01:18:27    3           COURT SECURITY OFFICER:        All rise.

01:18:28    4           THE COURT:     Be seated, please.

02:09:16    5           Counsel, this morning, I met with you in chambers

02:09:51    6   in advance of jury selection, and we discussed certain

02:09:57    7   overnight disputes regarding intended demonstratives that

02:10:03    8   were going to be used for opening statements or as a part

02:10:07    9   of opening statements this morning.

02:10:08   10           And with regard to at least some of those, I gave

02:10:20   11   you instructions, at least in my mind, to be followed up

02:10:26   12   on.

02:10:26   13           We discussed what was identified as DDX-1.008,

02:10:35   14   DDX-1.009, and DDX-1.011 this morning.

02:10:45   15           I instructed the parties to -- with regard to

02:10:52   16   demonstrative ending in an 8 and a 9, to pull out the

02:10:58   17   figures from the text of the '45 -- '450 patent and either

02:11:05   18   substitute appropriate claim language or tell me they were

02:11:12   19   going to forego those demonstratives altogether.            And I

02:11:17   20   directed you all to meet and confer on that.

02:11:19   21           Where are we in that regard?          Are these

02:11:21   22   demonstratives still intended to be used, are they in a

02:11:25   23   satisfactory form, or is there any remaining objection?

02:11:28   24           MR. HASLAM:     We've modified them according to the

02:11:30   25   Court's guidance.    I think we've circulated them to Solas,
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02:11:34    1   and I believe they're -- the new demonstratives are agreed

02:11:36    2   to.

02:11:40    3              MR. MIRZAIE:     That's correct, Your Honor.

02:11:41    4              THE COURT:     All right.   With regard to the

02:11:43    5   demonstrative ending in 11, I also directed to change some

02:11:54    6   of that.    And I have not seen the end result after we

02:11:56    7   discussed it, particularly the not equal to sign was going

02:11:59    8   to come out, and I wasn't completely clear on how it was

02:12:02    9   going to otherwise be restructured.

02:12:04   10              Have you all met and conferred over DDX-1.011 and

02:12:11   11   is there any --

02:12:12   12              MR. HASLAM:     We have deleted the equal sign, and I

02:12:15   13   thought the Court just said two and seven -- I will not say

02:12:18   14   two equals seven.       I'm going to be consistent with what the

02:12:21   15   Court's instructions were and how that point fits into the

02:12:27   16   claims that are at issue in the case.

02:12:28   17              THE COURT:     Okay.   That -- that, Mr. Haslam, is, I

02:12:34   18   think, the critical comment, how this fits into the claims

02:12:37   19   at issue.

02:12:38   20              I have no problem -- and I want to be clear about

02:12:46   21   this as a continuation of our discussion this morning.             I

02:12:52   22   have no problem with you telling the jury that your accused

02:12:55   23   products have seven transistors, and the embodiments in the

02:13:03   24   patents have two or three transistors, and then there's the

02:13:10   25   claim language, and the claim language is what the claim
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02:13:11    1   language is.

02:13:13    2            But at the end of the day, the message I

02:13:16    3   understand you're going to impart is that the functionality

02:13:21    4   of your seven transistors is different than the

02:13:25    5   functionality of the transistors called for in the claims

02:13:29    6   so that your products do not do what the claims call for.

02:13:33    7   That's got to be your argument.

02:13:34    8            It can't be two is not seven.         Their number is

02:13:38    9   different than our number.      We don't infringe, end of

02:13:44   10   story.   I can't have a bell rung with the jury that can't

02:13:48   11   be unrung like that that I can't correct, and that's why

02:13:52   12   I'm going over this with you one more time.

02:13:54   13            I understand.     And it's no secret, I think they

02:13:56   14   can tell, because we have seven, we have configured them in

02:14:04   15   a way that doesn't meet the claim language, and some of

02:14:06   16   them don't do the functions called for in the claim

02:14:09   17   language.

02:14:09   18            THE COURT:    And these are comprising claims, so

02:14:11   19   they can have more to them than what's called for.

02:14:17   20            It can't be that all seven transistors have to be

02:14:19   21   reflected in the claims, and it can't be that all seven

02:14:28   22   have to be accounted for in the claims.          Really, the

02:14:31   23   numbers don't have anything to do with it.          It's the

02:14:33   24   functionality of your accused products compared to the

02:14:35   25   requirements of the claim language, and either they line up
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02:14:38    1   and match, or they don't line up and match.

02:14:41    2           MR. HASLAM:     They don't line up and match.          And

02:14:43    3   the argument --

02:14:43    4           THE COURT:     As -- as long as you present it like

02:14:47    5   that, I'm okay with it.

02:14:48    6           MR. HASLAM:     But I just want to be very clear,

02:14:50    7   because if the Court doesn't want me to do this, I won't do

02:14:52    8   it.

02:14:53    9           Because we had to use seven transistors to make

02:14:56   10   this work, that's what caused some of the -- the relevant

02:15:00   11   transistors not to be located like the claims require and

02:15:06   12   not to be connected the way the claims require.

02:15:09   13           And so the point I want to make is because we had

02:15:12   14   to use seven transistors, you will not be able to match up

02:15:17   15   what the claim language requires these transistors be

02:15:21   16   located -- the Court's claim construction knows that what

02:15:25   17   the electrode covers was one of the elements of the claim

02:15:29   18   construction.     There's no dispute.     We disagree that they

02:15:34   19   mapped it onto the right claim -- onto the right

02:15:37   20   transistors, because the claim calls for two, but it calls

02:15:40   21   for two that specifically do something or are specifically

02:15:43   22   located at a place.

02:15:45   23           And the point is going to be that we, because we

02:15:46   24   had seven, we had to move things around and assign

02:15:50   25   different functionalities, and that's what doesn't meet the
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02:15:53    1   claim language.     Not just so we've got seven, but that the

02:15:56    2   way they're configured and the way they're located and

02:15:59    3   where they're located does not meet what the claim

02:16:02    4   requires.

02:16:03    5           And, ultimately, our case will be, when you look

02:16:05    6   at this claim, it requires X, and what they're pointing to

02:16:09    7   doesn't do X.

02:16:14    8           THE COURT:     Well, the numbers of the transistors

02:16:16    9   really are in large part a red herring that have a greater

02:16:22   10   probability of confusing than they do of enlightening the

02:16:26   11   jury.

02:16:27   12           It should be that whether because you used seven,

02:16:30   13   we had to reconfigure or whatever.        It should be here's our

02:16:33   14   accused products.     This is what it is.      This is how it's

02:16:36   15   configured.     This is how it works.     Here's the claim

02:16:40   16   language that the Plaintiffs say we infringe.           It requires

02:16:43   17   A, B, and C.     Our accused products don't do A or don't do B

02:16:50   18   or don't do C or don't do A, B, and C.

02:16:53   19           And whether that's because it's two versus seven

02:16:56   20   or some other reason, the key point's got to be a

02:17:01   21   divergence between the requirements of the claim and the

02:17:05   22   functionality of the accused products.         And that's why I'm

02:17:07   23   very concerned that if you flash this two and seven number

02:17:10   24   around, we're going to leave an impression with the jury

02:17:13   25   that it's simply a matter of two versus seven, they're not
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02:17:18    1   the same, that's the end of the story.

02:17:20    2           And that's not -- that's not appropriate, and I

02:17:25    3   have real concerns at a basic 403 level that the probative

02:17:28    4   value of talking about two versus seven is far outweighed

02:17:34    5   by the potential confusion and prejudice.          If that's clear.

02:17:38    6           MR. HASLAM:     The jury -- the jury is going to

02:17:40    7   see -- because their expert uses our diagrams, the jury is

02:17:46    8   going to see we have seven transistors.          And the story is

02:17:49    9   how did -- how -- I mean, it goes to the story of what our

02:17:53   10   innovation was.

02:17:54   11           And I think it -- to prejudice us and say, well,

02:17:58   12   it's two and we only look at two and ignore the fact that

02:18:01   13   we had to do seven transistors to make this work goes to

02:18:04   14   the value of the patents.      But the seven transistors is the

02:18:09   15   causation to make it work, which is why we don't make -- we

02:18:16   16   don't meet the limitations of the claims.

02:18:18   17           So it's -- I'm going to say, unless the Court says

02:18:21   18   I can't say that we have seven transistors, when one of

02:18:25   19   their first experts is going to get up and show them a

02:18:29   20   seven-transistor circuit.

02:18:31   21           THE COURT:     What I don't want and what I'm going

02:18:33   22   to preclude you from arguing is that seven versus two or

02:18:36   23   two versus seven is some kind of shortcut for the

02:18:40   24   technicalities of infringement and whether they do or don't

02:18:43   25   infringe reflect each and every element of the asserted
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02:18:45    1   claims.

02:18:45    2             MR. HASLAM:     I don't intend to.

02:18:46    3             THE COURT:     Okay.    I just wanted to be crystal

02:18:48    4   clear.

02:18:48    5             MR. HASLAM:     Okay.

02:18:49    6             THE COURT:     Because this is -- this is something I

02:18:51    7   have a concern could be extremely confusing at the very

02:18:55    8   front end of the trial.

02:18:56    9             MR. HASLAM:     And I'm going to ask for the Court's

02:18:58   10   guidance.   I mean, I would assume I could use the slide

02:19:02   11   that the Court has concerns about.         But given what the

02:19:07   12   Court has said, I do not want to use that slide if the

02:19:10   13   Court at this point thinks that I'm going over the line.

02:19:13   14             THE COURT:     I think it'd be better if you forego

02:19:15   15   1.011, all right?

02:19:18   16             MR. HASLAM:     Will do.

02:19:19   17             THE COURT:     Okay.    Anything else we need to take

02:19:21   18   up before I bring in the jury?

02:19:24   19             I understand Mr. Ward and Mr. Fenster are going to

02:19:28   20   split their time.

02:19:29   21             MR. WARD:     Yes, Your Honor.

02:19:30   22             THE COURT:     Mr. Ward, you're welcome to sit in one

02:19:32   23   of the chairs against the wall behind the podium.            You're

02:19:35   24   welcome to sit where you are and go around.           I do not want

02:19:38   25   Plaintiffs walking between the Defense table and the jury
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02:19:38    1   during the trial.

02:19:38    2            MR. WARD:    I'll just start out over there.

02:19:38    3            THE COURT:    Are there other housekeeping matters

02:19:45    4   we need to talk about?

02:19:45    5            MR. DANIEL CHO:      Yes, Your Honor.      Daniel Cho on

02:19:47    6   behalf of Defendants.

02:19:47    7            We'd like to preserve a record of our objection to

02:19:50    8   a document that was the subject of our motion to strike,

02:19:55    9   Docket No. 318 denied as Docket No. 329, which we

02:20:02   10   understand is a Plaintiff's trial Exhibit No. 745.            And

02:20:04   11   I've conferred with Mr. Mirzaie, lead counsel for Plaintiff

02:20:09   12   Solas.   We'd just like to preserve our objections for the

02:20:13   13   record to that PTX-745 for the reasons stated in our

02:20:15   14   briefings.

02:20:16   15            THE COURT:    Ordinarily, counsel, the last thing I

02:20:18   16   want to do is stand between a lawyer of preserving

02:20:22   17   something they think is important in the record, but it is

02:20:24   18   not lost on the Court that exhibit disputes were taken up

02:20:27   19   in September of last year and this is March of 2021, and

02:20:31   20   I've heard nothing from anybody from September to March.

02:20:34   21            So do you have an explanation as to why this

02:20:36   22   wasn't done as a part of the pre-trial conference --

02:20:38   23            MR. DANIEL CHO:      Yes.

02:20:39   24            THE COURT:    -- in the fall of last year?

02:20:41   25            MR. DANIEL CHO:      Yes, Your Honor.      This document,
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02:20:42    1   if you may recall, was disclosed to us after the September

02:20:46    2   pre-trial conferences.      It was produced in December and was

02:20:49    3   the subject of our motion to strike which was filed --

02:20:52    4            THE COURT:     Is this the LG license?

02:20:54    5            MR. DANIEL CHO:        Yes, Your Honor.

02:20:55    6            THE COURT:     Okay.     Is there objection to

02:20:56    7   preservation of this matter?

02:20:58    8            MR. FENSTER:     No, Your Honor.

02:20:59    9            THE COURT:     Okay.

02:21:00   10            MR. DANIEL CHO:        Thank you, Your Honor.

02:21:01   11            THE COURT:     All right.     So noted in the record.

02:21:03   12            Anything further?

02:21:07   13            MR. FENSTER:     Not from Plaintiff, Your Honor.

02:21:08   14            THE COURT:     Okay.     Let's bring in the jury then.

02:21:39   15            (Jury in.)

02:21:39   16            THE COURT:     Please be seated, ladies and

02:21:50   17   gentlemen.

02:21:50   18            Welcome back from lunch, members of the jury.

02:21:58   19            I have some preliminary instructions that I now

02:22:05   20   need to give you on the record before we start with opening

02:22:08   21   statements from the lawyers and then get on to the

02:22:11   22   evidence.

02:22:11   23            You've now been sworn as the jurors in this case,

02:22:16   24   and, as such, and as I indicated to you earlier, you are

02:22:19   25   the sole judges of the facts.        And, as such, you will
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02:22:23    1   determine all the facts in this case.

02:22:25    2             As the Judge, I will give you instructions on the

02:22:30    3   law, I will address and decide any questions of law that

02:22:34    4   arise during the course of the trial, I'll handle all

02:22:38    5   matters related to evidence and procedure, and I'm

02:22:40    6   responsible for maintaining an efficient flow of the

02:22:43    7   evidence and maintaining the decorum of the court.

02:22:47    8             At the end of the evidence, I'll give you detailed

02:22:50    9   instructions about the law to apply in deciding this case,

02:22:54   10   and I'll give you a list of questions that you are then to

02:22:57   11   answer.

02:22:59   12             This list of questions is called the verdict form.

02:23:02   13   And your answers to those questions will need to be

02:23:07   14   unanimous.   And your answers to those questions will

02:23:11   15   constitute the jury's verdict in this case.

02:23:13   16             Now, I want to tell you briefly what this case is

02:23:19   17   about.

02:23:19   18             As you know, this involves a dispute regarding

02:23:21   19   three certain United States patents.         I know that each of

02:23:26   20   you saw the patent video film this morning, but I need to

02:23:29   21   give you some additional instructions now and on the record

02:23:32   22   about a patent and how one is obtained.

02:23:34   23             Patents are either granted or denied by the United

02:23:39   24   States Patent and Trademark Office, sometimes simply

02:23:43   25   called, for short, the PTO.
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02:23:45    1            A valid United States patent gives the holder of

02:23:49    2   the patent the right for up to 20 years from the date the

02:23:52    3   patent application is filed within the United States --

02:23:58    4   excuse me, to prevent others from making, using, or

02:24:02    5   offering to sell or selling the patented invention within

02:24:04    6   the United States or from importing it into the United

02:24:09    7   States without the patentholder's permission.

02:24:11    8            A patent is a form of property called intellectual

02:24:14    9   property.   And like all forms of property, a patent can be

02:24:18   10   bought or sold.

02:24:19   11            A violation of the patentholder's rights is called

02:24:24   12   infringement.     A patentholder may try to enforce a patent

02:24:28   13   against persons it believes to be infringers by filing a

02:24:32   14   lawsuit in a United States District Court.           And that's what

02:24:36   15   we have before us in this case.

02:24:37   16            The process of obtaining a patent is called patent

02:24:41   17   prosecution.    To obtain a patent, one must first file an

02:24:47   18   application with the PTO, the United States Patent and

02:24:49   19   Trademark Office.

02:24:50   20            The PTO is an agency of the United States

02:24:56   21   Government, and it employs trained examiners who review

02:24:59   22   patents and applications for patents.

02:25:02   23            The application submitted to the PTO includes

02:25:06   24   within it what is called a specification.          The

02:25:09   25   specification contains a written description of the claimed
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02:25:13    1   invention telling what the invention is, how it works, how

02:25:17    2   to make it, and how to use it.

02:25:20    3            The specification concludes, or ends, with one or

02:25:23    4   more numbered sentences.      These numbered sentences are the

02:25:28    5   patent claims.

02:25:30    6            When a patent is granted by the Patent and

02:25:34    7   Trademark Office, the claims, ladies and gentlemen, define

02:25:38    8   the boundaries of the patent's protection and give notice

02:25:42    9   to the public of those boundaries.

02:25:44   10            Patent claims may exist in two forms, referred to

02:25:48   11   as independent claims and dependent claims.

02:25:50   12            An independent claim does not refer to any other

02:25:56   13   claim in the patent.     It is independent.       It's not

02:26:00   14   necessary to look at any other claim to determine what an

02:26:04   15   independent claim covers.

02:26:06   16            However, a dependent claim refers to at least one

02:26:10   17   other claim in the patent.       A dependent claim includes each

02:26:16   18   of the limitations of that other claim or claims to which

02:26:20   19   it refers, or as we sometimes say, from which it depends,

02:26:26   20   as well as the additional limitations recited within the

02:26:33   21   dependent claim itself.

02:26:35   22            Therefore, to determine what a dependent patent

02:26:38   23   claim covers, it's necessary to look at both the dependent

02:26:41   24   claim itself and the independent claim or claims to which

02:26:46   25   it refers or from which it depends.
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02:26:49    1            The claims of the patents-in-suit in this case use

02:26:53    2   the word "comprising."      Comprising means including or

02:26:58    3   containing.

02:27:01    4            A claim that includes the word "comprising,"

02:27:06    5   ladies and gentlemen, is not limited to the methods or

02:27:09    6   devices having only the elements that are recited in the

02:27:12    7   claim but also covers methods or devices that add

02:27:16    8   additional elements.

02:27:17    9            Take, for example, a claim that covers a table.

02:27:23   10   If a claim recites a table comprising a tabletop, legs, and

02:27:29   11   glue, the claim will cover any table that contains these

02:27:34   12   three structures, even if the table also contains other

02:27:38   13   structures, such as a leaf to expand the size of the

02:27:43   14   tabletop or wheels to go on the ends of the legs.

02:27:45   15            Now, that's a simple example using the word

02:27:49   16   "comprising" and what it means.        In other words, it can

02:27:52   17   have other features in addition to those that are covered

02:27:55   18   by the patent.

02:27:56   19            Now, after the applicant files an application with

02:28:01   20   the PTO, the PTO assigns an examiner, and the examiner

02:28:06   21   reviews the application to determine whether or not the

02:28:10   22   claims are patentable, that is to say, appropriate for

02:28:15   23   patent protection, and whether or not the specification

02:28:19   24   adequately describes the invention claimed.

02:28:22   25            In examining a patent application, the examiner
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02:28:27    1   reviews certain information about the state of the

02:28:30    2   technology at the time the application was filed.            The PTO

02:28:35    3   searches for and reviews this type of information that was

02:28:39    4   publicly available or that was submitted by the applicant.

02:28:43    5   And this type of information is called prior art.

02:28:47    6              The examiner reviews this prior art to determine

02:28:51    7   whether or not the invention is truly an advance over the

02:28:55    8   state of the art at the time.

02:28:57    9              Prior art is defined by law, and I'll give you at

02:29:01   10   a later time specific instructions as to what constitutes

02:29:04   11   prior art.

02:29:07   12              However, in general, ladies and gentlemen, prior

02:29:09   13   art includes information that demonstrates the state of the

02:29:16   14   technology that existed before the claimed invention was

02:29:18   15   made or before the application for a patent was filed with

02:29:22   16   the PTO.

02:29:22   17              A patent contains a list of certain prior art that

02:29:28   18   the examiner has considered.       The items on this list are

02:29:32   19   called the cited references.

02:29:35   20              Now, after the prior art search and the

02:29:38   21   examination of the application by the examiner, the

02:29:42   22   examiner informs the applicant in writing of what the

02:29:45   23   examiner has found and whether the examiner considers any

02:29:51   24   claim to be patentable, in which case it would be allowed.

02:29:57   25   This writing from the examiner to the applicant is called
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02:29:59    1   an Office Action.

02:30:00    2             If the examiner rejects the claims, the applicant

02:30:04    3   has an opportunity to respond to the examiner to try to

02:30:08    4   persuade the examiner to allow the claims.           The applicant

02:30:12    5   also has a chance to change or amend the claims or to

02:30:17    6   submit altogether new claims.

02:30:19    7             Now, these papers generated during these

02:30:23    8   communications back and forth between the examiner and the

02:30:25    9   applicant are called the prosecution history.

02:30:30   10             Now, this process may go on back and forth between

02:30:34   11   the applicant and the examiner for some time until at some

02:30:38   12   point the examiner is satisfied that the application meets

02:30:41   13   the requirements for a patent.        And in that case, the

02:30:46   14   application issues as a U.S. patent.

02:30:49   15             Or in the alternative, if the examiner ultimately

02:30:53   16   concludes that the application should be rejected, then no

02:30:56   17   patent is issued.

02:30:58   18             Sometimes patents are issued after appeals within

02:31:02   19   the PTO or to a court.      The fact that the PTO grants a

02:31:07   20   patent does not necessarily mean that any invention claimed

02:31:11   21   in the patent, in fact, deserves the protection of a

02:31:15   22   patent.

02:31:15   23             While each United States patent that is issued by

02:31:19   24   the PTO is presumed to be valid under the law, a person

02:31:24   25   accused of infringement has the right to argue in federal
    Case 2:19-cv-00152-JRG Document 344 Filed 03/08/21 Page 18 of 130 PageID #: 15028
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02:31:29    1   court that a claimed invention in a patent is invalid.

02:31:35    2            It's your job, ladies and gentlemen, as the jury,

02:31:38    3   to consider whether the evidence presented by the parties

02:31:42    4   and to determine independently and for yourselves whether

02:31:46    5   or not the Defendant has proven that a patent is invalid.

02:31:51    6            Now, to help you follow the evidence, I'll give

02:31:54    7   you a brief summary of the positions of the two parties.

02:31:56    8            Of course, there are more than one Defendant.

02:32:00    9   There are three Defendants, as I called out earlier.             We

02:32:03   10   will call them collectively Samsung, even though there are

02:32:06   11   three of them.    And when I say two parties, I mean Samsung

02:32:11   12   as the Defendant and Solas as the Plaintiff.

02:32:12   13            Now, as you know, the party that brings a lawsuit

02:32:17   14   is called the Plaintiff.      In this case, the Plaintiff is

02:32:20   15   Solas OLED Limited, which is referred to as either Solas or

02:32:25   16   simply the Plaintiff.

02:32:25   17            And as you know, the party against whom a lawsuit

02:32:29   18   is brought is called the Defendant.         And in this case, we

02:32:32   19   have three Defendants.      They are Samsung Display Company,

02:32:38   20   Limited; Samsung Electronics Company, Limited; and Samsung

02:32:43   21   Electronics America, Inc.       And these three Defendants will

02:32:48   22   either be called collectively the Defendants over the

02:32:52   23   course of the trial, or they may also be referred to

02:32:55   24   collectively simply by being called Samsung.

02:32:58   25            Now, as I told you during jury selection, this is
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02:33:00    1   a case of alleged patent infringement.          And as I mentioned,

02:33:07    2   there are three separate United States patents that have

02:33:09    3   been asserted in this case.

02:33:10    4            The first asserted patent in this case is United

02:33:14    5   States Patent No. 6,072,450.       And as you may have been

02:33:20    6   told, patents are commonly referred to by the last three

02:33:23    7   digits of their patent number.

02:33:26    8            So in this case, Patent No. 6,072,450 will

02:33:32    9   probably in all likelihood be called throughout the trial

02:33:36   10   the '450 patent.    You may hear it called the '450 patent.

02:33:39   11   But the last three digits will be the identifying name for

02:33:43   12   that particular patent.

02:33:44   13            The second patent at issue in this case is United

02:33:49   14   States Patent No. 7,446,338, which you'll hear referred to

02:33:56   15   in the same way as the '338 or the '338 patent.

02:33:59   16            And the third and final United States patent at

02:34:03   17   issue and which has been asserted in this case is United

02:34:06   18   States Patent No. 9,256,311, which you'll hear referred to

02:34:12   19   throughout the case as the '311 or the '311 patent.

02:34:15   20            Now, these patents can be referred to and will be

02:34:20   21   referred to at various times over the course of the trial

02:34:22   22   collectively and together as the patents-in-suit.            They're

02:34:28   23   sometimes also called the asserted patents.           And these

02:34:33   24   patents generally relate to mobile phone screens.

02:34:38   25            Now, the Plaintiff in this case, Solas, contends
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02:34:41    1   that the Defendants, Samsung, are willfully infringing

02:34:46    2   certain claims of one of the three patents-in-suit by

02:34:50    3   importing, making, or selling products that include their

02:34:54    4   patented technology.

02:34:55    5            Solas also contends that Samsung has induced or

02:35:01    6   contributed to or continue -- and continues to induce or

02:35:06    7   contribute to infringement by others.

02:35:07    8            Solas also contends that it's entitled to money

02:35:11    9   damages as a result of such infringement.

02:35:15   10            Now, the Defendants, Samsung, deny that they are

02:35:22   11   infringing any of the claims of the patents-in-suit

02:35:24   12   asserted by the Plaintiffs, and they contend that the

02:35:27   13   asserted claims of two of the three patents-in-suit are

02:35:30   14   invalid as either being anticipated or obvious in the light

02:35:34   15   of prior art.

02:35:35   16            Samsung also contends that the asserted claims of

02:35:41   17   one of the patents-in-suit is invalid because the patent

02:35:49   18   specification does not contain a sufficient written

02:35:52   19   description of the invention and does not enable a person

02:35:56   20   skilled in the art to make and use the invention.            That is

02:36:01   21   the '450 or the '450 patent.

02:36:03   22            Finally, the '338 patent is not alleged to be

02:36:08   23   invalid by the Defendant, Samsung, for any reason.

02:36:12   24            Now, I know there are new words, and I know there

02:36:15   25   are a lot of new concepts that have been thrown at you
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02:36:18    1   today, ladies and gentlemen.       I'm going to define a lot of

02:36:21    2   these words and concepts for you as we go through my

02:36:25    3   instructions.    The attorneys are going to discuss many of

02:36:28    4   these in their opening statements.         The witnesses are going

02:36:32    5   to help you through their testimony to understand these

02:36:35    6   terms and concepts.

02:36:36    7            So, please, ladies and gentlemen, do not feel

02:36:39    8   overwhelmed at this point.       I promise you, it will all come

02:36:43    9   together as we go through the trial.

02:36:45   10            Now, one of your jobs in this case is to decide

02:36:50   11   whether or not the asserted claims of the three asserted

02:36:53   12   patents have been infringed and whether they are invalid.

02:36:59   13            If you decide that any claim of the

02:37:01   14   patents-in-suit has been infringed by the Defendants and is

02:37:05   15   not invalid, then you'll need to decide whether or not the

02:37:10   16   infringement has been willful.

02:37:13   17            You will also then need to decide what amount of

02:37:16   18   money damages should be awarded to the Plaintiff as

02:37:20   19   compensation for that infringement.

02:37:23   20            Now, my job in this case is to tell you what the

02:37:27   21   law is, to handle matters and rulings on evidence and

02:37:30   22   procedure, and to oversee the conduct of the trial as

02:37:33   23   efficiently as possible, and to maintain the proper decorum

02:37:38   24   of this court.

02:37:40   25            In determining the law, it's specifically my job
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02:37:42    1   to determine the meaning of any of the claim language from

02:37:46    2   the asserted claims of the patents-in-suit that needs

02:37:49    3   interpretation.

02:37:51    4              I have already determined the meanings of the

02:37:55    5   claims of the patents-in-suit, and you must accept the

02:37:58    6   meanings or constructions that I give you and use those

02:38:02    7   meanings when you decide whether any particular claim has

02:38:05    8   or has not been infringed and whether or not any particular

02:38:09    9   claim is invalid.

02:38:12   10              And you're going to be given a document, ladies

02:38:14   11   and gentlemen, in a few moments that will reflect these

02:38:18   12   meanings or constructions that the Court has already

02:38:20   13   reached.

02:38:20   14              Now, for any of the claim language or claim terms

02:38:23   15   that I have not provided you with a specific definition or

02:38:26   16   construction, you should apply the plain and ordinary

02:38:29   17   meaning.    But if I've provided you with a definition,

02:38:35   18   sometimes called a construction, you are to apply my

02:38:38   19   definition to those terms throughout the case.

02:38:42   20              However, my interpretation of the language of the

02:38:46   21   claims should not be taken as an indication by you that I

02:38:50   22   have a personal opinion or any opinion at all regarding the

02:38:54   23   issues of infringement and validity.         Those issues, ladies

02:38:58   24   and gentlemen, are yours as the jury to decide, and they're

02:39:01   25   yours to decide alone.
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02:39:02    1            Now, I'll provide you with more detailed

02:39:06    2   instructions on the meanings of the claims before you

02:39:08    3   retire to deliberate and reach your verdict.

02:39:11    4            In deciding the issues that are before you, you

02:39:15    5   will be asked to consider specific legal rules, and I'll

02:39:18    6   give you an overview of those rules now, and then at the

02:39:22    7   conclusion of the case, I'll give you more detailed

02:39:25    8   instructions.

02:39:25    9            The first issue you're asked to decide is whether

02:39:29   10   the Defendants, Samsung, have infringed any of the asserted

02:39:34   11   claims of the patents-in-suit.

02:39:37   12            Infringement, ladies and gentlemen, is assessed on

02:39:39   13   a claim-by-claim basis.      And Solas, the Plaintiff, must

02:39:45   14   show by a preponderance of the evidence that a claim has

02:39:49   15   been infringed.    Therefore, there may be infringement as to

02:39:53   16   one claim but no infringement as to another claim.

02:39:57   17            There are also a few different ways that a patent

02:40:03   18   can be infringed, and I'll explain the requirements for

02:40:06   19   each of these types of infringement to you in detail at the

02:40:09   20   conclusion of the case.

02:40:11   21            But, in general, a Defendant may infringe an

02:40:14   22   asserted patent by making, using, selling, or offering for

02:40:17   23   sale in the United States or importing into the United

02:40:22   24   States a product meeting all of the requirements of a claim

02:40:25   25   of the asserted patent.
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02:40:27    1            As I say, I'll provide you with more detailed

02:40:29    2   instructions on the requirements for infringement at the

02:40:36    3   conclusion of the case.

02:40:37    4            Now, the second issue that you'll be asked to

02:40:40    5   decide is whether any of the asserted patents are invalid.

02:40:42    6            Invalidity, ladies and gentlemen, is a defense to

02:40:46    7   infringement.    Therefore, even though the United States

02:40:51    8   Patent and Trademark Office has allowed the asserted claims

02:40:55    9   and issued a patent and even though an issued patent is

02:41:00   10   presumed under the law to be valid, you, the jury, must

02:41:04   11   decide whether those claims are invalid after hearing the

02:41:08   12   evidence presented in this case.

02:41:10   13            Now, you may find that a patent claim is invalid

02:41:15   14   for a number of reasons, including because it claims

02:41:19   15   subject matter that is not new or because it is obvious.

02:41:23   16            For a patent claim to be invalid because it is not

02:41:30   17   new, the Defendant must show you by clear and convincing

02:41:33   18   evidence that all of the elements of the claim are

02:41:36   19   sufficiently described in a single previously printed

02:41:42   20   publication or patent.

02:41:43   21            If a claim, ladies and gentlemen, is not new, it

02:41:46   22   is said to be anticipated.

02:41:49   23            Now, another way that a claim can be found to be

02:41:52   24   invalid is that it may have been obvious.          Even though a

02:41:57   25   claim is not anticipated because every element of the claim
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02:42:01    1   is not shown or sufficiently described in a single piece of

02:42:05    2   prior art, the claim may still be invalid if it would have

02:42:10    3   been obvious to a person of ordinary skill in the field of

02:42:15    4   technology of the patent at the relevant time.

02:42:18    5            Now, you will need to consider a number of

02:42:21    6   questions in deciding whether the inventions claimed in the

02:42:25    7   asserted patents is obvious.       And I'll provide you with

02:42:28    8   more detailed instructions on those questions at the

02:42:31    9   conclusion of the trial.

02:42:34   10            Another way that a claim can be found to be

02:42:37   11   invalid is there may have been a lack of an adequate

02:42:40   12   written description.

02:42:42   13            A patent may be -- excuse me.         A patent may be

02:42:45   14   invalid if its specification does not describe the claimed

02:42:49   15   invention in sufficient detail so that one skilled in the

02:42:54   16   art can reasonably conclude that the inventor actually had

02:42:57   17   possession of the invention that they are claiming.

02:43:01   18            If you decide that any claim of the

02:43:03   19   patents-in-suit has been infringed and that claim is not

02:43:08   20   invalid, then you'll need to decide whether the

02:43:13   21   infringement by the Defendants has been willful.

02:43:17   22            You will also need to decide what amount of money

02:43:21   23   damages should be awarded to the Plaintiff, in this case

02:43:24   24   Solas, to compensate it for that infringement.

02:43:28   25            A damage award, ladies and gentlemen, must be
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02:43:30    1   adequate to compensate the patentholder for the

02:43:34    2   infringement, and in no event may a damage award be less

02:43:40    3   than what the patentholder would have received if it had

02:43:42    4   been paid a reasonable royalty for the use of its patent.

02:43:47    5            However, the damages that you award, if any, are

02:43:53    6   meant to compensate the patentholder and they're not meant

02:43:57    7   to punish the Defendant.

02:43:58    8            You may not include in any damages award an

02:44:01    9   additional amount as a fine or penalty above what is

02:44:04   10   necessary to fully compensate the patentholder for any

02:44:07   11   infringement that you have found.

02:44:13   12            Moreover, damages cannot be speculative, and the

02:44:15   13   Plaintiff, Solas, must prove the amount of its damages for

02:44:19   14   the alleged infringement by a preponderance of the

02:44:22   15   evidence.

02:44:22   16            I'll give you more instructions on the calculation

02:44:26   17   of damages for the Defendants' alleged infringement of the

02:44:32   18   patents-in-suit at the conclusion of the trial, including

02:44:34   19   by instructing you on the specific instructions regarding

02:44:37   20   the calculation of a reasonable royalty.

02:44:39   21            However, ladies and gentlemen, the fact that I am

02:44:43   22   instructing you about damages does not mean that Solas is

02:44:48   23   or is not entitled to recover damages.

02:44:52   24            Now, over the course of the trial, you're going to

02:44:56   25   be hearing from a number of different witnesses, and I want
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02:45:00    1   you to keep an open mind while you're listening to the

02:45:03    2   evidence and not decide any of the facts until you have

02:45:07    3   heard all of the evidence.

02:45:08    4            And this is important, ladies and gentlemen.

02:45:13    5   While the witnesses are testifying, remember, you, the

02:45:17    6   jury, will have to decide the degree of credibility and

02:45:20    7   believability to allocate to each of the witnesses and the

02:45:26    8   evidence that they give.      So while the witnesses are

02:45:29    9   testifying, you should be asking yourselves things like

02:45:31   10   this:

02:45:32   11            Does the witness impress you as being truthful?

02:45:36   12   Did he or she have a reason not to tell the truth?            Does he

02:45:39   13   or she have any personal interest in the outcome of the

02:45:42   14   case?   Does the witness seem to have a good memory?            Did he

02:45:47   15   or she have the opportunity and ability to observe

02:45:50   16   accurately the things that they testified about?            Did the

02:45:54   17   witness appear to understand the questions clearly and

02:45:57   18   answer them directly?      And, of course, does the witness's

02:46:01   19   testimony differ from the testimony of other witnesses?

02:46:06   20   And if it does, how does it differ?

02:46:09   21            These are some of the kinds of things that you

02:46:11   22   should be thinking about while you're listening to each

02:46:14   23   witness during the trial of this case and while each

02:46:17   24   witness testifies from the witness stand.

02:46:18   25            Also, ladies and gentlemen, I want to talk to you
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02:46:23    1   briefly about expert witnesses.

02:46:25    2            When knowledge of a technical subject that may be

02:46:30    3   helpful to you, the jury, a person who has special training

02:46:34    4   and experience in that particular field, we call them an

02:46:39    5   expert witness, that witness is permitted to testify to you

02:46:42    6   about his or her opinions on technical matters.

02:46:48    7            However, you're not required to accept an expert's

02:46:52    8   or any other witness's opinions at all.          It's up to you to

02:46:55    9   decide who to believe and who not to believe and whether an

02:47:02   10   expert witness or any witness, for that matter, is correct

02:47:04   11   or incorrect about what they tell you.

02:47:06   12            Now, I anticipate that there will be expert

02:47:09   13   witnesses testifying in support of both the Plaintiff and

02:47:12   14   the Defendants, but it will be up to you, when an expert

02:47:17   15   witness testifies, to listen to their qualifications, and

02:47:20   16   when they give you an opinion and explain the basis for

02:47:24   17   that opinion, you will have to evaluate what they say,

02:47:28   18   whether you believe what they say, and to what degree, if

02:47:32   19   any, that you want to give that opinion weight.

02:47:35   20            Remember, ladies and gentlemen, judging and

02:47:38   21   evaluating the credibility and believability of each and

02:47:42   22   every witness is an important part of your job as jurors.

02:47:47   23            Now, during the course of the trial, it's possible

02:47:52   24   that there will be testimony from one or more witnesses

02:47:55   25   that are going to be presented to you through what's called
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02:47:57    1   a deposition.

02:47:59    2            In trials like this, it's difficult and sometimes

02:48:03    3   almost impossible to get every witness physically present

02:48:07    4   in court to testify at the same time.

02:48:10    5            Therefore, before the trial begins, the lawyers

02:48:14    6   for both sides take the depositions of the witnesses.             In a

02:48:18    7   deposition, the witness is present and sworn and placed

02:48:23    8   under oath, a court reporter is present, and the lawyers

02:48:26    9   for both Plaintiff and Defendants are present.

02:48:30   10            The witness is asked questions and gives answers

02:48:33   11   to those questions under oath, and those answers to the

02:48:37   12   questions and the questions asked are taken down and

02:48:41   13   transcribed and recorded.

02:48:43   14            Often in these depositions, in addition to taking

02:48:45   15   down the written version of the questions and answers, the

02:48:49   16   actual deposition is recorded by video so that you can see

02:48:53   17   the witness, hear the question asked, and hear the answer

02:48:57   18   given.

02:48:58   19            These depositions generally, ladies and gentlemen,

02:49:05   20   go on for several hours at a time.         If a witness is going

02:49:09   21   to be presented at trial through a deposition and they

02:49:12   22   cannot appear in person, then portions of that deposition

02:49:17   23   will be selected by the parties to be played to the jury as

02:49:20   24   that witness's testimony.

02:49:24   25            And you will not have to listen to a seven-hour
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02:49:27    1   deposition.   You may hear a few minutes or some portion of

02:49:30    2   it that has been selected by Plaintiff and Defendant to be

02:49:35    3   presented to you from that witness.

02:49:36    4            So when you see deposition testimony that will be

02:49:40    5   played to you, if it looks like there are places where it

02:49:44    6   is spliced together or joined together, that's so the part

02:49:49    7   that's not important for you to hear is cut out, and you

02:49:52    8   don't have to listen to seven hours straight to get 20 or

02:49:55    9   30 minutes' worth of important testimony before you.

02:49:58   10            So if you see areas in deposition witnesses that

02:50:00   11   look like they're spliced or there's a transition, they

02:50:04   12   are.   But that's to save you a lot of time and effort.            The

02:50:08   13   important part, the part that the Plaintiff and the

02:50:09   14   Defendants believe that you should hear as evidence in this

02:50:11   15   case, will be played to you as that deposition testimony.

02:50:15   16            And I want to remind you, ladies and gentlemen,

02:50:20   17   that deposition testimony is entitled to the same

02:50:23   18   consideration and, to the extent possible, is to be

02:50:27   19   evaluated by you, the jury, in the same way as if the

02:50:30   20   witness had appeared in Court and testified live from the

02:50:33   21   witness stand.

02:50:34   22            Now, during the course of the trial, it's possible

02:50:44   23   that the lawyers will periodically make certain objections,

02:50:46   24   and when they do, I will give rulings on those objections.

02:50:51   25            It's the duty of an attorney to object on each
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02:50:54    1   side of the case if the other side purports to offer

02:50:57    2   testimony or other evidence that the objecting attorney

02:51:00    3   believes is not proper under the rules of the Court or the

02:51:05    4   orders of the Court.

02:51:06    5            Now, upon allowing the testimony or other evidence

02:51:09    6   to be introduced over an objection of an attorney, the

02:51:13    7   Court does not, unless expressly stated, indicate an

02:51:16    8   opinion about the weight or effect of that testimony.             As

02:51:21    9   I've said before, you are the sole judges of the

02:51:24   10   credibility and believability of all the witnesses and the

02:51:27   11   weight and effect, if any, to give to the testimony that's

02:51:30   12   presented through the course of this trial.

02:51:32   13            Now, I want to compliment all the parties in this

02:51:37   14   case and their counsel in this case because prior to this

02:51:41   15   trial today, both sides have worked with the Court very

02:51:44   16   diligently to go through the exhibits that will be

02:51:47   17   presented in this trial.

02:51:49   18            And any exhibits proposed by either party that the

02:51:52   19   other side has objected to, the Court has considered those

02:51:56   20   objections in earlier pre-trial hearings before you were

02:52:00   21   selected and seated.

02:52:04   22            And I've heard all the arguments, I've seen all

02:52:07   23   the documents, and I've already decided what is admissible.

02:52:09   24   And in those cases, the objections have been overruled and

02:52:13   25   the document has been considered to be an exhibit.
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02:52:16    1            Or in those cases where I think the document is

02:52:18    2   not admissible under the Rules of Evidence, then I have

02:52:22    3   sustained the objection, and the exhibit is not a part of

02:52:25    4   this case -- the document is not a part of this case, and

02:52:28    5   you'll never see it.

02:52:30    6            That means, ladies and gentlemen, that from that

02:52:33    7   list of pre-admitted exhibits that the Court's already

02:52:36    8   acted on and approved as to its admissibility, you don't

02:52:40    9   have to sit through all those arguments, and you don't

02:52:43   10   hear -- have to hear the back-and-forth between the lawyers

02:52:45   11   about whether it is or isn't admissible under the Rules of

02:52:50   12   Evidence.   I've already done that.        And with their effort

02:52:53   13   and my effort together, we have saved you hours and hours

02:52:55   14   of time listening to all of that.

02:52:57   15            We are now in a position where all those documents

02:53:01   16   have been dealt with, and either side can show you any item

02:53:04   17   from the list of exhibits that I've already approved and

02:53:07   18   simply show it to you and use it over the course of the

02:53:10   19   trial without a formal offer, without a predicate, without

02:53:13   20   an argument, without a dispute.

02:53:16   21            So I don't know if you understand it, but there

02:53:19   22   are many hours that we've already expended that have saved

02:53:23   23   you from sitting there and listening to that.           The exhibits

02:53:26   24   that are shown to you have already been pre-admitted by the

02:53:29   25   Court through these pre-trial procedures, which means I've
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02:53:32    1   already made a decision about the admissibility of those

02:53:35    2   exhibits, and a lot of time has been saved on your part

02:53:38    3   because of that work that the parties and their counsel

02:53:41    4   have done with the Court in advance.

02:53:43    5            So if the parties show you an exhibit over the

02:53:45    6   course of the trial, if either side does, it means that

02:53:48    7   I've already determined it's admissible, and they can

02:53:51    8   simply show it to you and ask such questions as they choose

02:53:56    9   and put it in a proper context with any witness.

02:53:58   10            I just want you to understand there's been a lot

02:54:02   11   of work to streamline that before today.          And I think it

02:54:06   12   will become apparent to you as we go forward with the

02:54:10   13   trial.   However, that being case -- that being the case,

02:54:12   14   it's still possible that objections will arise during the

02:54:15   15   course of the trial.

02:54:19   16            If I should sustain an objection to a question

02:54:21   17   addressed to a witness, then you must disregard the

02:54:24   18   question entirely, and you may draw no inference from its

02:54:29   19   wording or speculate in your own mind about what the

02:54:31   20   witness would have said if I had permitted them to answer

02:54:35   21   the question.

02:54:39   22            On the other hand, ladies and gentlemen, if I

02:54:41   23   overrule an objection to a question addressed to a witness,

02:54:43   24   then the witness will answer the question, and you should

02:54:46   25   consider the answer and the question just as if no
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02:54:49    1   objection had been made.

02:54:51    2            Now, you should know that the law of the United

02:54:54    3   States permits a United States District Judge to comment to

02:54:57    4   the jury regarding the evidence in the case, but such

02:55:00    5   comments from the Judge on the evidence are only an

02:55:05    6   expression of the Judge's opinion.

02:55:07    7            And the jury can disregard those comments in their

02:55:09    8   entirety, because as I've said before, you, the jury, are

02:55:12    9   the sole judges of the facts.       You are the sole judges of

02:55:16   10   the credibility and believability of the witnesses and how

02:55:19   11   much weight, if any, to give to all of the testimony that's

02:55:23   12   presented to you over the course of the trial.

02:55:25   13            So even though the law of the United States

02:55:28   14   permits me to offer comments on the evidence, as I told you

02:55:32   15   during jury selection, I'm going to work very hard not to

02:55:35   16   do that and not to indicate to you what I think about any

02:55:38   17   of the evidence presented over the course of the trial.

02:55:42   18   Evaluating and considering the evidence and from that

02:55:45   19   determining what the facts are in this case is your job,

02:55:49   20   ladies and gentlemen.      It's not my job.

02:55:51   21            Now, the court reporter in front of me,

02:55:56   22   Ms. Holmes, is taking down everything that's said in the

02:55:59   23   courtroom.   And the transcription of everything that's said

02:56:02   24   over the course of the trial is being prepared in case

02:56:06   25   there is an appeal of this case or for other purposes, but
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02:56:09    1   I want you to understand it is not being prepared so that

02:56:13    2   you will have it to use as a resource during your

02:56:15    3   deliberations after you've heard all the evidence.            You're

02:56:21    4   not going to have a written version of all this testimony.

02:56:24    5   You're going to have to rely on your memories of the

02:56:27    6   evidence over the course of the trial.

02:56:29    7            Now, in a moment, each member of the jury is going

02:56:31    8   to be given a juror notebook.       And in the back of those

02:56:34    9   notebooks, you'll find legal pads, and you'll find a pen in

02:56:38   10   the front pocket where you can make notes as the witnesses

02:56:41   11   testify over the course of the trial.

02:56:42   12            It's up to each member of the jury to decide

02:56:45   13   whether you want to make notes, and if you want to take

02:56:48   14   notes, how extensively or not you want those notes to be.

02:56:53   15            But, remember, any notes taken by any member of

02:56:56   16   the jury are for that juror's personal use only.            You still

02:56:59   17   have to rely on your memory of the evidence.           And that's

02:57:03   18   why you need to pay close attention, as I'm sure you will,

02:57:06   19   to the testimony of each and every witness.

02:57:08   20            You should not abandon your own recollection

02:57:12   21   because some other juror's notes indicate something

02:57:17   22   differently.   The notes that you take are to refresh your

02:57:20   23   recollection, and that's the only reason you should be

02:57:22   24   taking them.

02:57:23   25            I'm going to ask our Court Security Officer at
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02:57:25    1   this time to pass out these juror notebooks to the members

02:57:28    2   of the jury.

02:57:29    3            Thank you, Mr. Johnston.

02:58:44    4            Ladies and gentlemen, in these notebooks, you'll

02:58:47    5   see that you each have a copy of each of the three

02:58:50    6   patents-in-suit.    You're also going to find a section for

02:58:55    7   the witnesses that may testify in this case.           And for each

02:58:59    8   witness that may testify, there should be a separate tabbed

02:59:02    9   page for that witness with their picture superimposed at

02:59:08   10   the top of the page and their name there, as well,

02:59:11   11   identifying them.     The remainder of those pages have ruled

02:59:14   12   lines on there for note taking if you choose to do that at

02:59:18   13   that juncture.

02:59:19   14            You'll also find a chart in there that provides

02:59:22   15   you with the Court's construction or definitions of certain

02:59:26   16   parts of the language from the asserted claims.            Those are

02:59:29   17   the definitions or constructions that I told you I have

02:59:33   18   already reached, and you must apply my constructions or

02:59:36   19   definitions to that claim language in deciding the issues

02:59:40   20   that you are required to decide.

02:59:42   21            You should find a chart with on one side the

02:59:47   22   language from the claims that needed to be construed or

02:59:50   23   interpreted by the Court, and directly across from it the

02:59:54   24   actual construction or definition that the Court has

02:59:56   25   already reached and given to you.        You must use my
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02:59:59    1   definitions or constructions as you discharge your duty as

03:00:03    2   jurors.

03:00:03    3             And, again, you should find a new three-hole

03:00:08    4   punched legal pad in the back for additional note taking.

03:00:10    5             Now, ladies and gentlemen, these notebooks should

03:00:14    6   be in your possession throughout the trial.           They're not to

03:00:18    7   be left around loosely.      They should either be with you in

03:00:21    8   the jury box where you are now, or they should be on the

03:00:24    9   table in the jury room.

03:00:27   10             At the end of each day, I'm going to ask you to

03:00:29   11   leave them on the table in the jury room as you exit the

03:00:33   12   courthouse and go to your respective homes.           They'll be

03:00:38   13   there in the morning when you come back.

03:00:40   14             There may be one slight exception to this rule,

03:00:43   15   and that is over the course of the trial, we may take a

03:00:45   16   short recess or break where I will simply say, because I

03:00:48   17   know you're not going to be out of the jury box very long,

03:00:51   18   I may say, ladies and gentlemen, you can simply close and

03:00:54   19   leave your notebooks in your chairs.         And in that case, you

03:00:58   20   can simply close them, put them where you're seated, and

03:01:00   21   they'll be there when you get back.

03:01:03   22             But unless I give you those kind of instructions,

03:01:06   23   they either need to be in your hands in your possession, or

03:01:10   24   they need to be on the table in the jury room and not left

03:01:14   25   out in the courtroom.
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03:01:15    1            Now, in a moment, we're going to get to the

03:01:18    2   lawyers' opening statements.       These opening statements,

03:01:20    3   ladies and gentlemen, are designed to give you a roadmap of

03:01:23    4   what each side expects that their evidence will show you.

03:01:30    5            You should remember throughout the trial, ladies

03:01:32    6   and gentlemen, that what the lawyers tell you is not

03:01:33    7   evidence.   I'll say that again.       What the lawyers tell you

03:01:38    8   is not evidence.

03:01:40    9            The evidence in this case will be the sworn

03:01:44   10   testimony from the witnesses from the witness stand who

03:01:47   11   testify to you subject to cross-examination, and that

03:01:50   12   includes any witnesses who present testimony through a

03:01:53   13   sworn deposition where you see and hear the testimony, but

03:01:57   14   the person is not physically present in the courtroom.

03:02:00   15            They've nonetheless been sworn and are under oath

03:02:02   16   and are subject to cross-examination, and that deposition

03:02:05   17   testimony and the live testimony of the witnesses who

03:02:09   18   appear and testify under oath in this courtroom and the

03:02:12   19   exhibits that you are shown that the Court has admitted

03:02:16   20   into evidence, those are the evidence in this case, nothing

03:02:20   21   else, and certainly not what the lawyers tell you.

03:02:23   22            Now, what the lawyers tell you is their impression

03:02:29   23   of what they believe the evidence is, and they have a duty

03:02:32   24   to try and point out to you where they believe the evidence

03:02:35   25   supports their side of the case.
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03:02:37    1            But, remember, what they're telling you is not

03:02:40    2   evidence itself.

03:02:42    3            Now, after the lawyers present their opening

03:02:45    4   statements, the Plaintiff will go forward with its evidence

03:02:49    5   and its case.    This is called the Plaintiff's

03:02:52    6   case-in-chief, and the Plaintiff will call its witnesses

03:02:55    7   and present its testimony.

03:02:56    8            After the witnesses have been called and

03:03:00    9   testified, cross-examined, and released by the Court and

03:03:04   10   all the Plaintiff's witnesses have been called, the

03:03:07   11   Plaintiff will rest its case-in-chief.

03:03:10   12            And when the Plaintiff rests its case-in-chief,

03:03:12   13   then we will transition to the Defendants' case-in-chief,

03:03:16   14   and the Defendants will call their witnesses and present

03:03:18   15   their testimony, and their witnesses will be cross-examined

03:03:22   16   by the Plaintiff.

03:03:23   17            And when all the Defendants' testimony and

03:03:25   18   witnesses have been presented, then the Defendants will

03:03:28   19   rest their case-in-chief.

03:03:32   20            At that point, the rules allow for the Plaintiff

03:03:35   21   to present what are called rebuttal witnesses to rebut what

03:03:38   22   the Defendants have shown in their case-in-chief.            The

03:03:41   23   Plaintiff is not required to present rebuttal witnesses.

03:03:44   24   We won't know until we get to that point if the Plaintiff

03:03:47   25   chooses to.
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03:03:48    1            But if the Plaintiff calls rebuttal witnesses,

03:03:51    2   then those witnesses will testify in the same way and will

03:03:54    3   be subject to cross-examination by the Defendants.

03:03:57    4            And when all the Plaintiff's rebuttal witnesses,

03:04:01    5   if any, have testified, then at that point, ladies and

03:04:03    6   gentlemen, you will have heard all the evidence in this

03:04:06    7   case.

03:04:06    8            Once you've heard all the evidence in this case,

03:04:11    9   then I will present to you my final instructions on the law

03:04:15   10   that you are to apply -- are to apply.          Those instructions

03:04:19   11   from the Court to the jury are sometimes called the Court's

03:04:22   12   charge to the jury.

03:04:24   13            Once I've given you my charge, my final

03:04:26   14   instructions, then the lawyers for both sides will present

03:04:29   15   their closing arguments to you.

03:04:32   16            And once the closing arguments have been completed

03:04:35   17   by both sides, then I will instruct you to retire to the

03:04:39   18   jury room, I will send with you the verdict form that

03:04:44   19   contains the questions in it that you are to answer, and at

03:04:48   20   that magic moment, you go from being precluded from talking

03:04:52   21   to each other about the evidence, to being obligated to

03:04:55   22   talk to each other about the evidence as a part of

03:04:58   23   addressing those questions and doing your best to come to a

03:05:01   24   unanimous conclusion and answer to each of those questions

03:05:04   25   in the verdict form.
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03:05:04    1            As I've said earlier, you are not to discuss the

03:05:09    2   case and you are not to communicate about the case with

03:05:12    3   anyone in any way, including the eight of yourselves, until

03:05:17    4   such time as all the evidence has been heard, you've

03:05:20    5   received my final instructions, you've heard counsel's

03:05:23    6   closing arguments, and I instruct you to retire to the jury

03:05:26    7   room and to deliberate and consider your verdict in this

03:05:32    8   case.

03:05:32    9            That's when it all changes.        That's when you must

03:05:35   10   discuss the evidence with each other in attempting to

03:05:37   11   answer those questions and come to a unanimous decision

03:05:40   12   about the proper answers to those questions.

03:05:43   13            Let me also remind you, as I did earlier, that

03:05:46   14   throughout this trial, there are going to be unavoidable

03:05:49   15   times when you are in close proximity or pass right by one

03:05:53   16   or more of these lawyers, one or more of these party

03:05:55   17   representatives, one or more of these witnesses, or some

03:05:59   18   support person from each trial team.

03:06:01   19            You can look out in this courtroom.          Most of the

03:06:04   20   people out there are not spectators.         Most of the people

03:06:08   21   out there are associated with one side or the other in this

03:06:10   22   case.

03:06:12   23            And when you come in close proximity to one or

03:06:15   24   more of these folks, they're not going to speak.            They're

03:06:18   25   not going to be friendly.       They're not going to stop and
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03:06:21    1   start a conversation with you.        And when that happens,

03:06:23    2   don't hold it against them.       Don't think they're being rude

03:06:25    3   or unfriendly or penalize them in any way.           They are simply

03:06:29    4   doing what I have instructed them they have to do.            And

03:06:32    5   please keep that in mind.

03:06:34    6            Now, with these instructions, ladies and

03:06:36    7   gentlemen, we will proceed to hear opening statements from

03:06:39    8   the parties.     We'll begin with the Plaintiff's opening

03:06:42    9   statement.

03:06:42   10            Mr. Fenster, you may present Plaintiff's opening

03:06:52   11   statement.     Do you want some warning or direction on your

03:06:57   12   time, sir?

03:06:58   13            MR. FENSTER:     No, Your Honor.      Thank you.

03:06:59   14            THE COURT:     All right.    I understand Mr. Ward will

03:07:00   15   also be sharing the time with you.         But you may proceed

03:07:04   16   with the beginning portion of your opening statement,

03:07:06   17   Mr. Fenster.

03:07:06   18            MR. FENSTER:     May it please the Court.

03:07:33   19            Good afternoon, ladies and gentlemen.           My name is

03:07:36   20   Marc Fenster, and together with Mr. Ward and our team, we

03:07:39   21   have the pleasure of representing the Plaintiff in this

03:07:41   22   case, Solas OLED.

03:07:43   23            On behalf of Solas OLED and Mr. Gerry Padian, the

03:07:50   24   co-founder, first, I want to thank you.          I want to thank

03:07:53   25   you for your sacrifice.      This is, as Judge Gilstrap told
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03:07:57    1   you, an important case, and we understand, especially in

03:08:00    2   these extraordinary times, the extraordinary sacrifices

03:08:05    3   that each of you are making to be here to help decide this

03:08:09    4   important matter.

03:08:09    5            Our job in opening, as Judge Gilstrap told you, is

03:08:14    6   to give you a roadmap of what the evidence will show in

03:08:17    7   this case.     As you've heard, this is a patent case, and the

03:08:22    8   technology in this case is complicated, but the issues are

03:08:26    9   pretty simple.

03:08:28   10            You may have heard of that book, All I Really Need

03:08:31   11   to Know I Learned in Kindergarten.         Play fair.     Don't take

03:08:36   12   what doesn't belong to you.       Take responsibility for your

03:08:40   13   own actions.

03:08:42   14            Well, this case is about Samsung's infringement of

03:08:47   15   Solas's patented inventions.       Samsung took what didn't

03:08:53   16   belong to them and used it without permission for years,

03:08:58   17   and that's what we're going to prove to you over the course

03:09:01   18   of this case.

03:09:01   19            It's undisputed that Sam -- Solas owns the three

03:09:09   20   patents at issue in this case.        It's also undisputed,

03:09:12   21   ladies and gentlemen, that Samsung does not have permission

03:09:16   22   or a license to use these patents.

03:09:20   23            This case is about Samsung's infringement of

03:09:25   24   Solas's patents and how much Samsung owes Solas for its use

03:09:30   25   of those patents in its best-selling phones for years and
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03:09:34    1   years.

03:09:34    2             As you heard -- as you saw in the patent video

03:09:39    3   this morning, our founding fathers believed that patent

03:09:45    4   rights were so fundamental to the success of our country

03:09:49    5   that they wrote the patent system right into the very first

03:09:53    6   article of the Constitution of the United States.            The

03:09:56    7   driving principle of our patent system is that awarding

03:10:04    8   patents to inventors is the best way to encourage

03:10:06    9   innovation.    Abraham Lincoln, I think, said it best.             He

03:10:14   10   said that patents added the fuel of interest to the fire of

03:10:18   11   genius.

03:10:18   12             Now, fundamentally patents are property rights, no

03:10:23   13   different than owning your homestead or a piece of land.

03:10:26   14   And just like someone can't trespass on your property

03:10:30   15   without your permission, no one can use your patented

03:10:33   16   invention without your permission.

03:10:34   17             Now, Mr. Padian is the co-founder and director of

03:10:40   18   Solas.    He's going to be here throughout trial representing

03:10:44   19   Solas, and he will testify live for you.          He will explain

03:10:48   20   Solas's mission, how Solas came to own the patents-in-suit,

03:10:54   21   and he will explain the investment and hard work that Solas

03:10:57   22   and its employees had to make to be here.

03:10:59   23             Now, Solas's patents cover inventions related to

03:11:08   24   flexible touchscreen displays.        These are the advanced

03:11:12   25   touchscreen displays that are in Samsung's mobile phones.
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03:11:16    1            AMOLED, you'll hear that term, it's called

03:11:19    2   Active-Matrix Organic Light-Emitting Diode.           We're going to

03:11:22    3   explain all this.     You'll learn what that is.        It's

03:11:26    4   basically the latest and greatest in the displays that we

03:11:29    5   have.

03:11:30    6            You need two things to make a touchscreen display.

03:11:35    7   First, you need a display to make the image underneath.

03:11:39    8   And on top of that, you need the touchscreen sensor, the

03:11:43    9   touch sensor.     So you need two things to make a touch

03:11:48   10   sensor display.     You need the display and the touch sensor.

03:11:50   11            This case is about Samsung's infringement of three

03:11:55   12   of Solas's patents.     One of Solas's patents, the '311

03:12:00   13   patent, relates to the touch sensor part of that

03:12:03   14   touchscreen display.     That's the Atmel flexible touch

03:12:08   15   sensor patent.     And the other two patents relate to the

03:12:11   16   display itself and how those are made.

03:12:14   17            First, we'll talk about the '311 patent.            You'll

03:12:18   18   hear testimony from the inventors of the '311 patent.

03:12:23   19            First, you'll hear from Mr. Jalil Shaikh.             He was

03:12:26   20   an engineer at Atmel.      He was in charge of the project that

03:12:31   21   became the '311 patent, and he will testify and will --

03:12:35   22   you'll also hear from Mr. Yilmaz, who was an inventor on

03:12:40   23   the patent, as well.

03:12:40   24            You will learn that Atmel was a pioneer in

03:12:47   25   flexible touch sensor display technology at the relevant
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03:12:49    1   time.

03:12:49    2            Mr. Shaikh and Mr. Yilmaz will tell you how and

03:13:00    3   why Atmel developed a flexible touch sensor made of metal

03:13:02    4   mesh, which you'll learn about, that is configured to wrap

03:13:08    5   around the edge of a curved display.

03:13:10    6            They'll testify that they had the original idea

03:13:13    7   back in January 2011.      That's an important date because

03:13:17    8   that's the date of invention for the '311 patent.

03:13:20    9            And they will tell you that they diligently worked

03:13:23   10   to reduce that to make a working prototype of that, which

03:13:27   11   they did by July of 2011.

03:13:29   12            Atmel then filed a patent application for its

03:13:37   13   invention in October of 2011.       The United States Patent

03:13:41   14   Office reviewed that patent application for four and a half

03:13:44   15   years and finally determined that it was worthy of a

03:13:49   16   patent, that it met all of the requirements necessary for a

03:13:52   17   patent, and that a patent should be awarded, and that a

03:13:56   18   patent was awarded in February 2016.

03:14:01   19            Now, it is not necessary for us to show that

03:14:04   20   Samsung knew about the patent to show infringement.             You

03:14:08   21   don't have to know about a patent to infringe it.            All you

03:14:12   22   have to do is infringe the claims.

03:14:13   23            But in this case, we're going to show you evidence

03:14:16   24   that Samsung knew about the '311 invention and even knew

03:14:22   25   about the '311 patent itself before they started infringing
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03:14:26    1   the '311 patent.

03:14:27    2              Now, how is that so?

03:14:32    3              Samsung was a customer of Atmel's throughout the

03:14:36    4   time period of 2011 to 2016.       And Mr. Shaikh and Mr. Yilmaz

03:14:43    5   will testify that as Atmel was developing their flexible

03:14:48    6   touch sensor, they made regular presentations to Samsung

03:14:53    7   showing them what they came up with.         All of these

03:14:56    8   presentations were marked confidential.

03:15:00    9              This is PTX- -- Exhibit PTX-650, and it's an

03:15:07   10   example of one of the presentations that Mr. Shaikh will

03:15:12   11   testify about that they gave to their customers, including

03:15:15   12   Samsung.

03:15:16   13              It was about their flexible touch sensor display,

03:15:22   14   which they called XSense, and they made these presentations

03:15:24   15   to show some of the things that you can do with the

03:15:28   16   flexible touch sensor that they came up with.

03:15:31   17              This is one of the examples from one of the pages

03:15:37   18   in the '650 [sic] patent.       This is an actual working sample

03:15:44   19   that the Atmel engineers made of a flexible touch sensor

03:15:47   20   that curved around the edge that goes -- that is made to go

03:15:51   21   on a display.    And they even showed what a phone made with

03:15:54   22   that display could look like.

03:15:59   23              So Atmel made lots of presentations to Samsung

03:16:06   24   throughout this time.      Starting in 2011, in 2012, in 2013,

03:16:13   25   all the way through 2016 when the patent issued, Atmel was
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03:16:19    1   making these presentations to Samsung.

03:16:22    2            The patent issued then in February 2016.            We will

03:16:28    3   show you evidence that Samsung found out about the '311

03:16:32    4   patent right after it issued.       This is Exhibit PTX-103.

03:16:38    5   It's one of the exhibits that you'll see and hear in this

03:16:41    6   case.

03:16:42    7            And this is an internal confidential Samsung

03:16:44    8   document where Samsung made a search for patents relevant

03:16:49    9   to metal mesh displays.

03:17:03   10            So Samsung -- this is the -- this is PTX-103,

03:17:07   11   excuse me.     And it shows that Samsung made -- did a search

03:17:12   12   for patents.     And look what comes up at No. 3.         It's the

03:17:17   13   '311 patent.     This document is dated March 2016.

03:17:21   14            Your Honor, may I pause for a second?

03:17:43   15            THE COURT:    We're going to take about a

03:17:45   16   five-minute recess.

03:17:47   17            Ladies and gentlemen, if you'll just leave your

03:17:49   18   notebooks in your chairs, we'll be back shortly to continue

03:17:53   19   with Plaintiff's opening statement.

03:17:55   20            The jury is excused for recess.

03:17:57   21            COURT SECURITY OFFICER:        All rise.

03:17:59   22            (Jury out.)

03:18:26   23            THE COURT:    Be seated, please.

03:18:39   24            Let me explain to you, counsel, why I just

03:19:09   25   recessed the jury in the middle of Plaintiff's opening.
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03:19:12    1            Juror No. 3, I believe it is, Ms. Carpenter,

03:19:17    2   handed a note to the Court Security Officer, who brought it

03:19:20    3   to me, that she was feeling sick.        I understand she's

03:19:23    4   nauseated.   I'm going to get -- give her a minute in the

03:19:26    5   restroom to see if things don't clear up.           I don't know if

03:19:29    6   it's -- I don't know what the cause of it is.           That's all I

03:19:33    7   know.   But given that it was an immediate situation that

03:19:39    8   couldn't wait, I felt like I had no alternative but to

03:19:43    9   recess the jury.

03:19:44   10            We're going to stand in recess.         I'm going to ask

03:19:46   11   the Court Security Officer and the clerk's office to

03:19:49   12   monitor Ms. Carpenter's situation in the next few minutes,

03:19:53   13   keep me up-to-date on where we are, and as soon as I know

03:19:56   14   whether we have a continuing problem or a temporary problem

03:20:00   15   that's over with, I'll let counsel know, and we'll

03:20:03   16   reconvene.

03:20:04   17            We stand in recess.

03:20:04   18            COURT SECURITY OFFICER:        All rise.

03:20:05   19            (Recess.)

03:20:07   20            (Jury out.)

03:20:07   21            COURT SECURITY OFFICER:        All rise.

03:45:24   22            THE COURT:    Be seated, please.

03:48:44   23            Counsel, as I mentioned before I left the bench,

03:48:53   24   one of our jurors, Ms. Carpenter, No. 3, sent me a note in

03:48:59   25   the middle of Plaintiff's opening statement saying, I am
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03:49:02    1   getting sick.

03:49:05    2            In response to that note, I recessed, allowed her

03:49:09    3   an opportunity to go to the jury room and the restroom

03:49:14    4   adjacent thereto and see how things were.

03:49:16    5            I directed the Court -- the deputy in charge for

03:49:19    6   this division, Ms. Clendening, to talk to Ms. Carpenter,

03:49:23    7   see what her situation is, and my understanding from

03:49:28    8   Ms. Clendening's report is that Ms. Carpenter has a certain

03:49:31    9   level of anxiety that she believed caused her to become

03:49:36   10   nauseated.   And it is not something that probably is a

03:49:41   11   one-time situation, and we have no real assurance that it

03:49:46   12   won't repeat itself over the course of the trial.

03:49:50   13            That being the case, I met with counsel for

03:49:53   14   Plaintiffs and Defendants in chambers, relayed that

03:49:55   15   information to them, and the consensus of the parties and

03:50:00   16   the Court was that we would probably be better served by

03:50:03   17   excusing Ms. Carpenter to prevent the possibility, and it

03:50:11   18   seems to be a pretty good possibility, that this would be,

03:50:13   19   at least to some extent, a recurring situation.

03:50:16   20            My understanding from counsel is they've talked

03:50:20   21   with their corporate representatives, and both

03:50:24   22   Plaintiffs -- Plaintiff and Defendants are agreeable that

03:50:26   23   Ms. Carpenter should be excused.

03:50:29   24            Is that -- does that comport with your

03:50:32   25   understanding, Mr. Fenster, for Plaintiff?
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03:50:34    1              MR. FENSTER:     Yes, it does, Your Honor.

03:50:35    2              THE COURT:     Mr. Haslam, for Defendants?

03:50:37    3              MR. HASLAM:     Yes, it does.

03:50:38    4              THE COURT:     All right.   Thank you.

03:50:38    5              Mr. Latham, I'm going to ask you as the Court

03:50:42    6   Security Officer to go to the jury room and ask

03:50:45    7   Ms. Carpenter by herself to come in and just have a -- ask

03:50:49    8   her to have a seat right there on the front, first chair of

03:50:53    9   the jury box, all right?

03:50:55   10              Leave the other members of the jury in the jury

03:50:58   11   room, please.

03:51:09   12              COURT SECURITY OFFICER:      All rise, please.

03:51:14   13              (Juror in.)

03:51:18   14              THE COURT:     Just have a seat right there, please,

03:51:20   15   Ms. Carpenter.

03:51:21   16              Be seated, please.

03:51:22   17              Ms. Carpenter, I asked Ms. Clendening to visit

03:51:27   18   with you during the recess, and she's reported the

03:51:31   19   conversation the two of you had, and I relayed that to

03:51:34   20   counsel.    And we've discussed it, and the consensus is that

03:51:37   21   it would be best for all parties if I excuse you from

03:51:41   22   serving on this jury, and that's what I'm going to do.             I'm

03:51:44   23   excusing you.

03:51:47   24              I'm going to ask you in just a minute to go back

03:51:50   25   in the jury room.       Ms. Clendening is here in the courtroom,
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03:51:52    1   and she's going to meet you back there.          Any questions you

03:51:55    2   have, she'll answer them for you.        Any information you

03:51:59    3   need, she'll furnish it to you.        And she'll make sure you

03:52:02    4   have all your personal belongings and escort you to your

03:52:07    5   vehicle so that you can go home and get better.

03:52:09    6             JUROR:   Thank you very much.

03:52:11    7             THE COURT:   And then we'll proceed with the

03:52:12    8   remaining seven members of the jury.         I would just ask that

03:52:15    9   you not have a big discussion with the rest of the jury

03:52:18   10   when you go back.

03:52:19   11             JUROR:   No, no.

03:52:20   12             THE COURT:   And we wish you well and hope that

03:52:22   13   this is not a problem that causes you any inconvenience in

03:52:27   14   the future.     Thank you for being here.       You are excused.

03:52:28   15             JUROR:   Sir, I'm sorry this happened, but I don't

03:52:31   16   never know when a panic attack is going to hit me and

03:52:35   17   everything.     And I'm very sorry for -- you know, it

03:52:39   18   happened.

03:52:40   19             THE COURT:   I understand, and there's no need to

03:52:42   20   apologize.     We're just dealing with it as best we can.

03:52:45   21             JUROR:   Thank you.

03:52:46   22             THE COURT:   We appreciate your attitude.

03:52:48   23             JUROR:   Thank you.

03:52:48   24             THE COURT:   But, Ms. Carpenter, please travel

03:52:50   25   safely.     You're excused.
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03:52:53    1            If you'll take her back to the jury room, please,

03:52:57    2   Mr. Latham, Ms. Clendening will meet you there.

03:52:59    3            And if you'll come back to the courtroom,

03:53:02    4   Mr. Latham, when you're finished depositing her.

03:53:09    5            (Juror out.)

03:53:10    6            THE COURT:     If you, Mr. Latham, will give her just

03:53:10    7   a minute to meet Ms. Clendening, and as soon as she and

03:53:13    8   Ms. Clendening have met in the jury room, if you'll bring

03:53:14    9   the other seven members of the jury into the courtroom and

03:53:17   10   put them in the jury box.

03:53:19   11            Everybody just remain standing.

03:53:26   12            Go ahead and see about that for me, please.

03:53:37   13            Mr. Fenster, you were at 10 minutes your time.

03:53:39   14   I'm going to give you 10 minutes and 30 seconds.

03:53:43   15            MR. FENSTER:     Thank you.

03:53:43   16            THE COURT:     Give you 30 seconds extra.

03:53:47   17            MR. FENSTER:     Thank you.

03:53:53   18            (Jury in.)

03:53:53   19            THE COURT:     Please be seated.

03:54:15   20            Ladies and gentlemen of the jury, I have excused

03:54:23   21   Ms. Carpenter.    She has some issues that I'm not going to

03:54:27   22   discuss in detail with you.       But I will simply tell you

03:54:30   23   that consulting with both the Plaintiffs and the

03:54:33   24   Defendants, the Court reached the conclusion that the best

03:54:36   25   thing to do was to excuse her, and we'll proceed just as we
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03:54:40    1   were.   Instead of eight, we'll have seven.          And everything

03:54:43    2   that I've told you so far still applies.

03:54:45    3            Mr. Fenster was about 10 minutes into the

03:54:48    4   Plaintiff's opening statements.        I'm going to allow him to

03:54:50    5   continue.   He's going to hand off at some point to Mr. Ward

03:54:54    6   who will finish the Plaintiff's opening statement.

03:54:57    7            And so that you can briefly recap where you were

03:54:59    8   and get back into your opening statement, Mr. Fenster, I'm

03:55:02    9   going to afford you an additional 30 seconds on your time.

03:55:05   10            MR. FENSTER:     Thank you, Your Honor.

03:55:05   11            THE COURT:     Please proceed when you're ready.

03:55:06   12            MR. FENSTER:     Welcome back, ladies and gentlemen.

03:55:11   13            So just to recap, we were talking about how Atmel

03:55:15   14   had a relationship with Samsung, how Atmel, after coming up

03:55:19   15   with the '311 Flexible touch sensor, had disclosed that in

03:55:24   16   presentations to Samsung, and then Samsung's internal

03:55:28   17   document actually showed that it learned about the '311

03:55:31   18   patent right after it issued.

03:55:32   19            So the patent issues on February 9, 2016.            Samsung

03:55:38   20   internal documents show that they learned about the '311

03:55:42   21   patent and -- in March 2016, and Samsung releases its first

03:55:46   22   infringing phone, the S8, in 2017.

03:55:52   23            Even though it knew about the patent, after

03:55:55   24   learning all of the information from Atmel, Samsung decided

03:55:59   25   to go ahead and do it alone without Atmel, even though it
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03:56:03    1   didn't have permission.

03:56:04    2              Now, knowledge of a patent is not required for

03:56:10    3   infringement.     You can infringe a patent even if you've

03:56:14    4   never heard of it.     But knowledge of the patent is relevant

03:56:19    5   to the question of whether that infringement was willful.

03:56:22    6              And in addition to finding that Samsung is liable

03:56:27    7   for infringement, at the end of the case, after we've done

03:56:31    8   the hard work of showing you that their phones meet every

03:56:33    9   single element of the asserted claims, in addition to

03:56:41   10   finding Samsung liable for infringement, we're going to ask

03:56:44   11   you to find that that infringement was also willful.

03:56:47   12              Now, we bear the burden of proving infringement by

03:56:55   13   a preponderance of the evidence, as Judge Gilstrap

03:56:59   14   explained.    To show infringement, we will present the

03:57:01   15   expert testimony of Mr. Thomas Credelle.          Mr. Credelle is

03:57:09   16   an independent expert in display and touch sensor

03:57:13   17   technology.     He'll explain that he has over 40 years of

03:57:16   18   real-world experience making, designing displays and touch

03:57:20   19   sensors.

03:57:22   20              Mr. Credelle analyzed all of the confidential

03:57:25   21   documents that Samsung had to give to us during discovery

03:57:28   22   before this case that described exactly how all of their

03:57:31   23   phones work, the precise design documents that show exactly

03:57:35   24   how they're made.

03:57:36   25              He reviewed all of the deposition testimony in
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03:57:39    1   this case.     And he went through and analyzed every single

03:57:43    2   phone, compared it to the claims, every single element.

03:57:51    3   And he will show you step-by-step, element-by-element, that

03:57:54    4   the accused phones infringe the asserted claims.

03:57:56    5              First, Mr. Credelle will show you how Samsung is

03:58:01    6   infringing the '311 patent.       That's the Flexible touch

03:58:06    7   sensor configured to wrap around the curved edge of a

03:58:09    8   display.     He will show you -- this is an example from the

03:58:16    9   S8, one of the infringing products.         He will show you that

03:58:20   10   the Flexible touch sensor and the substrate are configured

03:58:23   11   to wrap around the curved edge of a display.

03:58:27   12              And he will show you, using Samsung's confidential

03:58:31   13   documents, that there is an intersection between the flat

03:58:34   14   surface on top and the curved surfaces on either side, and

03:58:39   15   that that display, the touch sensor, wraps around that

03:58:44   16   intersection, which is what the claim requires.

03:58:45   17              Now, this is the claim, Claim 7 of the '311

03:58:52   18   patent.    There's a lot of words, and Mr. Credelle is going

03:58:56   19   to do the hard work to show you element-by-element that

03:58:59   20   every single one of these things is met.          I don't have time

03:59:02   21   to do it now.

03:59:03   22              But I do want to point out 7d says:        The

03:59:08   23   substantially flexible substrate and the touch sensor are

03:59:12   24   configured to wrap around one or more edges of the display.

03:59:16   25              Just -- I just wanted to point that out to you
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03:59:21    1   because that's where the action is going to be regarding

03:59:23    2   the '311 patent.

03:59:25    3              And let me tell you about the two other patents,

03:59:29    4   and these relate to the AMOLED display.          So the last patent

03:59:34    5   was about the touch sensor, and these two are about the

03:59:37    6   AMOLED display itself.

03:59:38    7              Now, these phones that we have in our pockets and

03:59:44    8   take -- take for granted every day are actually pretty

03:59:48    9   amazing.    Samsung's display on a phone this size has 4.2

03:59:54   10   million pixels.

03:59:56   11              So this display is actually made up of 4.2 million

04:00:01   12   tiny points of light.      They're called pixels.       And every

04:00:05   13   one of those pixels has what they call an OLED, which is an

04:00:09   14   Organic Light-Emitting Diode.       That's just a piece of

04:00:12   15   material that shines up -- that lights up when you pass an

04:00:16   16   electric current behind it.

04:00:18   17              And active matrix is kind of special because

04:00:22   18   behind every single one of those tiny points of light is a

04:00:28   19   teeny tiny circuit that controls how much current goes

04:00:32   20   through it and how bright that particular light is.

04:00:35   21              And this case is about the improvements to these

04:00:38   22   pixels and the tiny circuits, so small you can't even see

04:00:42   23   them, behind each and every one of those tiny points of

04:00:47   24   light or pixels.

04:00:49   25              Now, the '338 covers the improvement to the little
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04:00:55    1   circuit behind each pixel.       This is Claim 1.      We're

04:01:03    2   asserting Claim 5, which is dependent on Claim 1, and

04:01:06    3   Mr. Credelle will go step-by-step.         But I do want to point

04:01:09    4   out a couple of things about this claim.

04:01:12    5            All of our claims that are being asserted in this

04:01:14    6   case are what they call comprising claims.           A display panel

04:01:18    7   comprising.     And Judge Gilstrap explained that comprising

04:01:22    8   means includes.     If it has these things, it infringes, even

04:01:26    9   if it has other things, as well.

04:01:28   10            So this claim is a display panel comprising.             And

04:01:36   11   in 1a, it shows a plurality of transistors for each pixel.

04:01:42   12            So what is a plurality of transistors?           We'll tell

04:01:46   13   you what a transistor is.       You don't have to worry about

04:01:48   14   that yet.     But a plurality is just two or more.         It's not

04:01:51   15   limited to two.     It's not limited to three.        It's two or

04:01:54   16   more, a plurality.

04:01:55   17            And then if you go down to 1f, it says:           Wherein

04:01:58   18   the plurality of transistors for each pixel includes three

04:02:03   19   particular pixels -- transistors, a driving transistor, a

04:02:07   20   switch transistor, and a holding transistor.

04:02:09   21            So we will show you that Samsung's products have a

04:02:15   22   plurality of transistors and that that plurality includes

04:02:19   23   these three transistors.      It is not limited to only three.

04:02:23   24   It's a plurality.

04:02:25   25            And just like you all are a plurality of now seven
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04:02:28    1   jurors, that includes Jurors 1, 2, and 3, so, too, is

04:02:37    2   Samsung's circuit.     So you'll hear that Samsung's circuit

04:02:41    3   actually has seven transistors.        They have a plurality of

04:02:44    4   seven transistors that include, Mr. Credelle will show you,

04:02:48    5   a driving transistor, a switch transistor, and a holding

04:02:53    6   transistor.

04:02:55    7              And Samsung infringes the '338 patent because its

04:03:00    8   plurality -- because it has a plurality of seven

04:03:03    9   transistors that include these three.

04:03:05   10              Let me go quickly to the '450 patent.

04:03:13   11              So the '450 patent has to do with how the pixel is

04:03:16   12   actually made.     So before, there's a circuit and then

04:03:22   13   there's the OLED.     And before they used to be made on the

04:03:24   14   same level of the circuit board, and they'd be sort of

04:03:28   15   side-by-side.     And what Casio discovered is a particular

04:03:32   16   way to build them on top of each other, to build them

04:03:37   17   vertically, so to -- so as to improve the AMOLED display.

04:03:43   18   And that's what the '450 is about, and it's -- we call it

04:03:46   19   the stacking patent because it stacks up.

04:03:48   20              And you'll see in the claim, this is the '450,

04:03:51   21   Claim 4.     Again, we'll go through every single one of these

04:03:57   22   elements.     But what you'll see is that it has a bunch of

04:04:00   23   layers that are formed one on top of the other.            It's got a

04:04:04   24   substrate.     It's got active elements that are formed on

04:04:06   25   that.   Others formed on top of that, et cetera.           That's why
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04:04:09    1   we call it the stacking patent.        And we'll teach you all of

04:04:12    2   that.   Mr. Credelle will go through that, and he'll do the

04:04:15    3   hard work.

04:04:15    4            We have the burden of proof, and I'm going to warn

04:04:18    5   you, Mr. Credelle's testimony is going to take a few hours

04:04:23    6   because he has to go through and show you, prove to you

04:04:27    7   that every one of the infringing phones really does meet

04:04:30    8   every one of the elements of the asserted claims.            And

04:04:32    9   we're going to go through and walk you through his analysis

04:04:35   10   and the evidence for every one of those claims.

04:04:38   11            So I'm going to apologize and warn you upfront,

04:04:40   12   it's going to take some time.       But we take our burden of

04:04:43   13   proof seriously, and we're going to show that to you.

04:04:46   14            Now, these are the infringing phones that are at

04:04:49   15   issue in this case.     And there's a lot of them.

04:04:52   16   Mr. Credelle will show you that he went through and studied

04:04:56   17   every single one and compared them carefully to the claims.

04:04:59   18            And what you'll see at the end of this case, we

04:05:01   19   believe, is that Samsung is using Solas's patented

04:05:06   20   inventions in each of these models of its best selling

04:05:10   21   phones, and it has been in model after model, year after

04:05:14   22   year, taking advantage of Solas's inventions without paying

04:05:17   23   for the right to do so.

04:05:18   24            Now, we have the burden of proof on infringement,

04:05:22   25   so that's what I've been talking about.
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04:05:25    1            Samsung has the burden of proof on validity.             So

04:05:28    2   we'll let them talk about that, but we're confident that

04:05:30    3   they will not be able to show you by clear and convincing

04:05:33    4   evidence, the higher standard, that the Patent Office made

04:05:37    5   a mistake here.

04:05:37    6            In addition to infringement, we also bear the

04:05:41    7   burden of -- burden of proof on damages.          And I'm going to

04:05:45    8   turn it over to Mr. Ward to talk to you about damages now.

04:05:48    9            But I thank you very much for your attention so

04:05:50   10   far.

04:05:51   11            MR. WARD:    Your Honor, could you let me know how

04:05:56   12   much time I've got left?

04:05:58   13            THE COURT:    11 minutes.

04:05:59   14            MR. WARD:    11 minutes?

04:06:01   15            THE COURT:    Yes.

04:06:02   16            MR. WARD:    Okay.    In the next 11 minutes I'm going

04:06:11   17   to talk to you about damages.       I told you during voir dire

04:06:14   18   that this case is about $88 million of damages.            That's

04:06:17   19   what Solas intends to prove to you.         In the next 10

04:06:21   20   minutes, I'm going to tell you briefly what evidence is

04:06:24   21   that supports that and why that evidence supports damages

04:06:28   22   of that amount and not the 1.6 million that Samsung says

04:06:31   23   they owe which corresponds to the amount of money that

04:06:34   24   Solas paid for these patents.

04:06:35   25            So where do we start?       It's where I ended during
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04:06:39    1   voir dire when I asked y'all if you could follow the law in

04:06:43    2   damages.     Upon a finding of infringement, the Court shall

04:06:47    3   award the claimant damages adequate to compensate for the

04:06:51    4   infringement, but in no event less than a reasonable

04:06:54    5   royalty for the use made of the invention by the infringer.

04:06:57    6              It doesn't say limited to how much they paid for

04:06:59    7   the patents.     It said limited -- or for the use made of the

04:07:03    8   invention.

04:07:03    9              We're going to bring you an expert, and he's going

04:07:06   10   to walk you through the evidence that supports his finding,

04:07:10   11   and he's going to talk about the use.         It's Mr. Stephen

04:07:14   12   Dell.   He's the founder of a company called NOVUM.           Went to

04:07:19   13   the University of Texas.      He's a certified valuation

04:07:22   14   analyst.     He's got almost 20 years of experience.         He's

04:07:26   15   been recognized as a leading expert in his field, and he's

04:07:30   16   done exactly what he's going to do in this case, a number

04:07:32   17   of times.     He'll tell you about that experience.

04:07:35   18              He relied upon Mr. Credelle -- Dr. Credelle --

04:07:39   19   Mr. Credelle who told him about the benefits of the '311

04:07:42   20   patent invention.     And you'll see this, and Mr. Credelle

04:07:44   21   will go through this in a lot of detail, what the benefits

04:07:47   22   of that invention were.

04:07:49   23              This is the touchscreen configured to wrap around

04:07:52   24   the edge.

04:07:53   25              And I want to talk to you about this document,
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04:07:55    1   PTX-522, and it's blurred out because it's a confidential

04:07:59    2   Samsung document, and we can't show you these numbers in

04:08:02    3   open court, but we will.

04:08:04    4              But what I want to point out is that this is the

04:08:07    5   type of evidence that Mr. Dell relied upon when he figured

04:08:13    6   out what does this invention have?         What is the value to

04:08:17    7   Samsung?

04:08:18    8              And this document talks about cost savings.

04:08:21    9   There's a percentage number about metal mesh.           It's not

04:08:25   10   something we invented, but metal mesh sensors that wrap

04:08:28   11   around the edge is the invention, compared to something

04:08:32   12   called an ITO P1S sensor.

04:08:38   13              And you'll actually see they put this new sensor,

04:08:40   14   this new touch screen in the Galaxy S8.          You can lay them

04:08:43   15   right next to each other and you won't be able to tell any

04:08:46   16   difference.

04:08:47   17              But they could tell the difference to their bottom

04:08:48   18   line, because you'll find that after the S8 and S8 Plus

04:08:53   19   where they were using these two different ones, everything

04:08:56   20   after that uses the metal mesh sensor configured to wrap

04:08:59   21   around the edge.    And he'll tell you about those cost

04:09:02   22   savings.

04:09:03   23              I want to talk to you about a concept that you

04:09:06   24   probably have never heard of, I had never heard about it,

04:09:10   25   something called a hypothetical negotiation because that's
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04:09:11    1   what Mr. Dell is going to do, that's what the Defendants'

04:09:14    2   damages expert is going to do.

04:09:15    3              They have to do that, because to figure out what

04:09:22    4   damages are owed, they set up something called a

04:09:22    5   hypothetical negotiation.       It's hypothetical because at the

04:09:23    6   negotiation, Samsung is there, and actually Atmel, the

04:09:26    7   owner of the patent because that's -- they owned the patent

04:09:29    8   when the infringement started.

04:09:31    9              And they sit down across the table, and you know

04:09:34   10   what Samsung says during this hypothetical negotiation?

04:09:37   11   They say:     We admit that we infringe, and we admit that

04:09:41   12   your patents are valid.      Let's talk about what we owe.         Not

04:09:45   13   what happens in the courtroom, because they deny those

04:09:48   14   things, but in the hypothetical negotiation, those things

04:09:50   15   are admitted.

04:09:52   16              There's something else that's called the book of

04:09:55   17   wisdom.     You'll hear about that from Mr. Dell.         You'll hear

04:09:57   18   about it from the Defendants' expert.         It's like a crystal

04:10:00   19   ball.     These parties get to know about all the future

04:10:03   20   sales, how well the product does, what are their profits,

04:10:07   21   how much money do they save up until the time of January

04:10:11   22   20 -- or January 31 of 2021 is when the damage period ends

04:10:17   23   for this patent, because there's still 11 years left on the

04:10:21   24   patent.     We're not talking about the next 11 years.          We're

04:10:24   25   talking about only up to January 31st of 2021.
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04:10:31    1             And he will tell you that after looking at those

04:10:32    2   cost savings, he came up with a royalty rate of 1 percent.

04:10:35    3   What does that royalty rate apply to?         You're going to hear

04:10:37    4   the term smallest salable patent practicing unit.            And

04:10:42    5   what's coming up there is something called the OLED display

04:10:47    6   module, and he applies that 1 percent to that OLED display

04:10:51    7   module.

04:10:51    8             And, remember, infringement for importing, making

04:10:55    9   or selling.     Samsung Display makes, they sell it to Samsung

04:11:01   10   Electronics who then sells it to Samsung America which

04:11:06   11   imports those phones.      That's why we've accused them all of

04:11:09   12   infringement.

04:11:09   13             What he does, he'll show you how many sales there

04:11:12   14   are.   Over 40 million displays using the '311 invention.

04:11:17   15   That's just up until January 31st.

04:11:21   16             At the average price, it's a big number, lots

04:11:24   17   of -- lots of revenue generated times a royalty rate.

04:11:28   18   He'll tell you that the damages owed up until January 31st

04:11:32   19   of 2021 are 35.4 million.

04:11:37   20             Mr. Dell is going to do the same thing with

04:11:40   21   respect to the '450 and the '338.        He'll look at the

04:11:43   22   benefits that Mr. Credelle told him that he found from

04:11:48   23   those inventions, and, again, I don't have time to walk you

04:11:51   24   through all of these, but we're going to take the time,

04:11:53   25   we'll do the hard work, as Mr. Fenster told you, we'll look
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04:11:56    1   at those benefits.

04:11:57    2             Samsung touted the benefits.        These are brighter

04:12:04    3   displays.     Now, we didn't invent AMOLED displays.         Don't

04:12:09    4   let anyone say we're claiming that.         But we did make them

04:12:13    5   better.     These inventions from the patents that we

04:12:14    6   purchased from Casio do make the displays brighter.

04:12:18    7             And you'll learn that the '450 is actually

04:12:20    8   expired, so they can use it.       And they don't have to pay

04:12:23    9   anything for it, but they have to pay for the last six

04:12:27   10   years that they did use it, and you'll see they used it a

04:12:30   11   lot.

04:12:30   12             The '338 patent is a patent that they stopped

04:12:32   13   using, but remember what the damages statute says, paid for

04:12:36   14   the use made of the invention.        And that's what Mr. Dell

04:12:38   15   will calculate.

04:12:39   16             And the way he calculates is a little bit

04:12:41   17   different.     He didn't look at cost savings.        He didn't have

04:12:44   18   those type of documents.      What he had were similar licenses

04:12:48   19   that Samsung had entered into.        And this is a license with

04:12:51   20   a company called UDC, and we'll talk a lot about this.

04:12:55   21   Mr. Dell will tell you about it.        And there were specific

04:12:59   22   license rates that Samsung agreed to pay, and it was

04:13:02   23   actually an OLED patent license agreement.

04:13:05   24             I want you to remember that when we talk about UDC

04:13:07   25   because Samsung says, don't rely upon this license, even
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04:13:14    1   though this license was renewed repeatedly by Samsung.

04:13:21    2   They want to rely upon an LCD -- or a license that

04:13:24    3   primarily dealt with LCD technology that was entered into

04:13:29    4   between Casio and Samsung.

04:13:30    5            THE COURT:    You have three minutes remaining, just

04:13:32    6   for your benefit.

04:13:33    7            MR. WARD:    Thank you, Your Honor.

04:13:33    8            So if we go back to our friend, the hypothetical

04:13:37    9   negotiation, right, and -- and, again, you assume

04:13:41   10   infringement and validity.       Samsung sits across the table

04:13:43   11   from Casio, and they say:       We admit that we infringe your

04:13:47   12   valid patents.    What do we owe?      Mr. Dell will rely upon

04:13:52   13   that UDC license agreement, the OLED.         And he says, 50 --

04:13:56   14   .5 percent per patent.

04:14:00   15            Same kind of math.      Over 80 million displays sold

04:14:06   16   that infringe the '450 times that half percent rate.             Over

04:14:10   17   84 million that infringe the '338 patent.          And the numbers

04:14:13   18   are big because their sales are big.         The numbers are big

04:14:16   19   because they used this property without permission.

04:14:20   20            Let me talk to you real briefly about a couple of

04:14:24   21   license agreements that the experts don't look at because

04:14:27   22   they were entered into after the expert report deadline.

04:14:31   23            So Mr. Padian is going to tell you about these.

04:14:35   24   One is with a company called eMagin, and this license is

04:14:39   25   for less than $100,000.      That's because their use is low.
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04:14:47    1            You'll recall during voir dire, we talked -- or

04:14:50    2   Ms. Smith talked about a horse auction and maybe someone

04:14:54    3   bought an old mangy mare, an old mangy nag.           I want you to

04:15:00    4   think about this license when Mr. Padian talks to you.             I

04:15:03    5   can't tell you the amount.       It was entered into just two

04:15:06    6   months ago with LG.     I can't tell you the amount in open

04:15:09    7   court.   But when he tells the amount for a license to the

04:15:12    8   Casio patents, including these three patents, but the

04:15:16    9   entire portfolio, you tell me if you think we're talking

04:15:19   10   about an old mangy mare.

04:15:23   11            Those are the total damages, $88 million.            And I

04:15:27   12   don't tell you 88 million thinking you'll -- you should

04:15:30   13   give us 44 million or 40 million.        I tell you 88 million

04:15:34   14   because that's what the evidence is going to support.

04:15:37   15            And we look forward to presenting that evidence to

04:15:39   16   you all during the course of this week.

04:15:41   17            Thank you for your time.

04:15:42   18            THE COURT:    All right.     Defendants, you may now

04:15:47   19   present your opening statement to the jury.

04:16:04   20            Would you like a warning on your time, Mr. Haslam?

04:16:06   21            MR. HASLAM:     Please.    Seven minutes.

04:16:11   22            THE COURT:    I'll tell you when you have seven

04:16:13   23   minutes remaining.     You may proceed when you're ready.

04:16:16   24            MR. HASLAM:     I'll push start, and I'm off.

04:16:18   25            Well, Mr. Ward and Ms. Smith had the opportunity
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04:16:21    1   to answer the questions that you had to answer, so I'm

04:16:24    2   going to start off by telling you a little bit about

04:16:27    3   myself.

04:16:27    4              I come from California, I guess unfortunately, but

04:16:31    5   I've been there since 1969 when the Air Force stationed me

04:16:35    6   there.     I've never lived in Texas, so my connections to

04:16:42    7   Texas I'm going to sort of stretch.         But when I was in the

04:16:46    8   Air Force in California, the first two years I was there,

04:16:50    9   Gregg Popovich, who is the coach of the San Antonio Spurs,

04:16:55   10   was stationed at the same station, and I had the

04:16:58   11   opportunity to play basketball with him, although he was on

04:17:01   12   the court and I was on the bench.

04:17:03   13              I also -- my aunt and uncle moved to Marshall in

04:17:08   14   1970.     He was with Alcoa.    Unfortunately, they both passed

04:17:13   15   away, but they lived down on Bergstrom Circle.            And I

04:17:20   16   remember coming down to a daughter -- a cousin's wedding in

04:17:23   17   1972.     So I'm an interloper, but I've been here before, and

04:17:28   18   I've got some minor connection to Texas.

04:17:32   19              If I believed everything that Mr. Ward and

04:17:35   20   Mr. Fenster said they could prove, I'd get my checkbook out

04:17:39   21   right now.     But, thankfully, the evidence that you're going

04:17:44   22   to see isn't going to lead you to where they want you to

04:17:47   23   go.

04:17:48   24              Now, they mentioned the Constitution.         And, yes,

04:17:52   25   patents are in the Constitution to promote the progress of
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04:17:57    1   the science and the arts.       Their assumption is every patent

04:18:03    2   has great and beneficial use, but that's not the case.               Not

04:18:07    3   every idea is a great idea.       Some patents lead to dead

04:18:13    4   ends, and it's our belief that the three patents in this

04:18:18    5   case are of that type.

04:18:20    6            And you're going to find out that for the Casio

04:18:23    7   patents, they never used them.        And nobody ever came to

04:18:30    8   them and said:     Can we use them?

04:18:32    9            But notwithstanding what we think about the Casio

04:18:36   10   and Atmel patents, this case is about the Constitution.               It

04:18:41   11   is about the progress of the arts and sciences.            And the

04:18:46   12   progress here are the innovations that the three Samsung

04:18:52   13   Defendants made to bring all of us OLED displays which are

04:18:57   14   the brightest and the best on the market.

04:19:00   15            And they innovated a brand-new touch sensor in

04:19:06   16   2017, and I'll get to that in a moment.

04:19:08   17            Samsung Display, one of the companies and one of

04:19:15   18   the Defendants, is the company which makes the displays.

04:19:18   19   They're also responsible for building the touch sensor into

04:19:23   20   the display.     They spent almost 20 years of research and

04:19:31   21   development trying to develop an OLED display that worked.

04:19:34   22            We're going to bring you two experts,

04:19:38   23   Dr. Fontecchio and Dr. Sierros, who will talk to you about

04:19:41   24   the Casio patents and the Atmel patent, and they'll explain

04:19:45   25   them to you, and they will explain the technology that's in
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04:19:49    1   these products.

04:19:51    2             Samsung Display has also brought Mr. Kwak.

04:19:57    3   Mr. Kwak was the leader of the group of engineers and

04:20:01    4   support staff that pioneered the award-winning OLED

04:20:08    5   displays that Samsung sells.       And he will tell you about

04:20:12    6   the trials and tribulations that he and his group went

04:20:18    7   through to bring all of us the touch -- the touch sensor

04:20:22    8   phones on the Samsung Galaxy phones from the Samsung

04:20:27    9   Galaxy 8 Plus forward.

04:20:30   10             Now, I want to talk to you about the two other

04:20:33   11   companies that are involved here.        Samsung Electronics is

04:20:38   12   the company that buys the displays from Samsung Display and

04:20:42   13   makes the phones that we all use and like who have Galaxy

04:20:48   14   phones.

04:20:51   15             Samsung Electronics America is a U.S. company.            It

04:20:56   16   has facilities in Plano, and it is in charge of taking the

04:21:00   17   phones that Samsung Electronics makes and commercializing

04:21:06   18   and selling those in the United States.

04:21:08   19             Mr. Joe Repice is here as a representative, and

04:21:17   20   you'll hear him testify later.        And he will tell you, and I

04:21:20   21   believe that the work that Samsung Display did does not

04:21:27   22   borrow from or is not based upon the Casio patents.

04:21:32   23             Now, it's easy for me to sit here and talk about

04:21:40   24   what Samsung has done or not done, but let me put up a

04:21:45   25   little slide here, it's DDX-1.002.
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04:21:50    1              2007, the first Active Matrix OLED display was put

04:21:59    2   in a smartphone.

04:22:00    3              In 2009 before the Atmel patent, they had the

04:22:04    4   first flexible AMOLED display.

04:22:07    5              June 2010, the Galaxy S1 was released with an

04:22:12    6   AMOLED display.

04:22:12    7              2014, the first mass-produced curved edge display

04:22:20    8   panel.     It won an award at the Society for Information

04:22:25    9   Display.

04:22:25   10              And here's something you may not have known.           When

04:22:28   11   Apple first introduced an OLED smartphone in 2017, Samsung

04:22:37   12   Display's OLED display was in that phone, and it is in that

04:22:42   13   phone today, iPhones that are OLED.

04:22:44   14              The Google Pixel phones, which are OLEDs, also

04:22:48   15   have Samsung Display's products in them.

04:22:57   16              Let me just tell you a little bit about the

04:22:59   17   Samsung products that Samsung Electronics makes and that

04:23:04   18   SEA sells.     They've got phones, and you'll see the Z Flip

04:23:07   19   there, one of their newest models, on the top left.

04:23:08   20   There's a tablet.     There's notes, and there's phones.          They

04:23:13   21   also sell one other, the Galaxy S20, which is the phone

04:23:18   22   that I believe is involved in this case.          They have a

04:23:21   23   tactical edition that they sell to the U.S. military, and

04:23:24   24   that's because the displays that they make are rugged

04:23:28   25   enough and the phones are rugged enough to be used in a
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04:23:32    1   hostile environment.

04:23:33    2              Make no mistake, Samsung is not here saying they

04:23:45    3   have all the good ideas.       They don't.    In the past, Samsung

04:23:51    4   has paid others for the use of their patents and

04:23:54    5   technology, and I'm going to go over that a little bit

04:24:01    6   later.

04:24:01    7              But what they don't do is to pay for technology or

04:24:05    8   patents that they don't use, and that is what we believe

04:24:08    9   this case is about.

04:24:09   10              Now, who are the other -- who are the other

04:24:14   11   players?    Casio and Atmel?     Both of those were

04:24:20   12   multi-billion dollar companies.        They made products.       Some

04:24:22   13   of you said -- some of the people said this morning they

04:24:25   14   had Casio calculators or Casio watches.          But Casio never

04:24:31   15   made an OLED display.      And no one came to them and asked to

04:24:38   16   license the '450 and '338 patent.

04:24:42   17              And so when they say they want 88 -- 60 million

04:24:47   18   approximately for those two patents, ask yourself why

04:24:49   19   didn't Casio become the world leader in OLED displays if

04:24:55   20   these are such foundational patents, if you can't make OLED

04:25:02   21   displays without these?

04:25:04   22              And why did Atmel ultimately sell its touch sensor

04:25:09   23   business to Uni-Pixel, which two years later went bankrupt?

04:25:14   24   Because their products weren't the market leader.            They

04:25:17   25   weren't the novel approach that's been hyped here in the
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04:25:20    1   opening.

04:25:21    2              Now, you heard the Judge say that in order to

04:25:32    3   prove infringement, you will have to find that every

04:25:36    4   element of the claim, which is a series of elements, and

04:25:39    5   you saw Mr. Fenster put up some of those, you have to find

04:25:44    6   each and every one of those in the accused products.             If

04:25:49    7   one element is missing, there is no infringement.

04:25:53    8              We believe the evidence is going to show for these

04:25:56    9   products that there are several of the requirements of the

04:26:01   10   claims which are not found in the Samsung products.             And

04:26:05   11   the reason for that is because in developing their displays

04:26:12   12   with the built-in integrated touch sensors, they had to do

04:26:16   13   things that are not taught or claimed in the '450, the

04:26:24   14   '338, or the '311 patent.

04:26:27   15              I want to briefly touch -- we are going to argue

04:26:30   16   that the claims are invalid.

04:26:34   17              And I want to sort of correct one thing I think

04:26:39   18   Mr. Fenster said.     We are not saying that the Patent Office

04:26:44   19   made a mistake.     You will be the first people to see

04:26:55   20   patents that the Patent Office did not have.

04:27:00   21              Casio and Atmel didn't provide them to the Patent

04:27:06   22   Office.    I'm not saying that's wrong.       The patent examiner

04:27:08   23   didn't find them, and so the patent examiner did what he

04:27:12   24   could with the information he had.

04:27:19   25              You will see information that the patent examiner
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04:27:22    1   did not.

04:27:23    2              So we're not asking you to second-guess a decision

04:27:26    3   that the patent examiner made.        Effectively, we're going to

04:27:29    4   ask you to do what the patent examiner, we believe, would

04:27:32    5   have done had he seen these prior patents about what other

04:27:38    6   people had invented which made the patents invalid or, as

04:27:44    7   the Judge told you, obvious in light of what somebody else

04:27:49    8   had.   That the improvement that they may claim in the

04:27:52    9   patent wasn't sufficiently inventive that you're entitled

04:27:56   10   to a patent.

04:27:57   11              And the invalidity based on anticipation and

04:27:59   12   obviousness is in the statute that Congress, pursuant to

04:28:08   13   the Constitution, passed and put in the patent laws.

04:28:12   14              So they put a brake on attempting to claim

04:28:18   15   innovations that you didn't actually make and deserve.

04:28:25   16              THE COURT:    Let's move on, Mr. Haslam.       You're

04:28:27   17   getting argumentative here.       This needs to be informative,

04:28:32   18   not argumentative.

04:28:33   19              MR. HASLAM:    Okay.   Let me talk a little bit then

04:28:35   20   about how Atmel -- Samsung made its touch sensors.            I'm

04:28:41   21   going to start with the '311.

04:28:43   22              The fact is Samsung came out with its first OLED

04:28:52   23   phone in 2009.    It had a touch sensor on it.         The original

04:28:59   24   iPhone in 2007 had a touch sensor on it.          As a matter of

04:29:04   25   fact, I don't know if you know about the BlackBerry, which
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04:29:07    1   had the mechanical buttons, but BlackBerry said:            Well, the

04:29:12    2   iPhone will never be successful because it doesn't have

04:29:15    3   mechanical buttons.     It had a touch sensor instead.          And

04:29:19    4   since then, those phones and the Galaxy phones have had

04:29:23    5   touch sensors.

04:29:24    6             And I want to just show you, these are two

04:29:27    7   physical exhibits that you will have before you when you

04:29:31    8   retire.   And hopefully we'll be able, if we can manage the

04:29:39    9   health issues, that you may see it when it's passed around

04:29:43   10   as a result of the evidence.

04:29:44   11             But in my right hand I have -- and you can see the

04:29:47   12   wiring on it -- a touch sensor, and it is on a flexible

04:29:51   13   base to support the touch sensor.        And what Samsung did is

04:29:58   14   it bought this kind of external touch sensor from other

04:30:02   15   companies.   And it would take that touch sensor, and it

04:30:07   16   would glue it on to a display.

04:30:13   17             So it was an external touch sensor that had a

04:30:16   18   separate base or substrate and the touch sensor on top of

04:30:24   19   it.   And that's important, because that is, we believe,

04:30:27   20   what the Atmel '311 patent claims.

04:30:30   21             And the external touch sensors that Samsung used

04:30:39   22   were made by other companies, and the touch sensors and the

04:30:46   23   phones and the displays on which those touch sensors were

04:30:52   24   placed had the same kind of bend that the edge of the

04:30:57   25   display that they claim infringes the '311.
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04:31:01    1             Those phones are not accused of infringement

04:31:04    2   because of the kind of material that was used for the touch

04:31:07    3   sensor.     It wasn't a metal mesh touch sensor.

04:31:12    4             In 2007 -- 2017, what is now accused of

04:31:18    5   infringement is just this.       It looks like the display.        It

04:31:23    6   is the display.     But the touch sensor no longer is a

04:31:31    7   separate piece that Samsung Display has to buy from some

04:31:35    8   other company.     They innovated and put the touch sensor

04:31:44    9   directly into the display.

04:31:47   10             This is thinner than this kind of touch sensor

04:31:53   11   that the Atmel claim covers.       It's less expensive, and it

04:32:00   12   is easier to manufacture.       And it eliminates the need to

04:32:07   13   have somebody else in your supply chain, like an Atmel or a

04:32:10   14   3M or somebody else.

04:32:12   15             That's what they accuse of infringement.           And we

04:32:17   16   believe the evidence is going to show you that this kind of

04:32:20   17   a display that has an integrated touch sensor does not

04:32:25   18   infringe.

04:32:25   19             So you were shown the claim.        Mr. Fenster pointed

04:32:33   20   to the issue of wrap around the edge of the display.             And I

04:32:39   21   want to show you what the -- an example of what the '311

04:32:44   22   patent says is an example of what wrapping around the edge

04:32:49   23   of the display means.

04:32:51   24             What I've got here on the left is the face page of

04:32:59   25   the '311 patent.     And on the right, I have Figure 7 of the
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04:33:03    1   patent.   This is Figure 7.      And it is described in Column 7

04:33:09    2   of the patent.

04:33:12    3             You have the patents in your book, and patents do

04:33:16    4   not have page numbers.      They have -- if you look at the top

04:33:21    5   of the page after the -- after the figures, you'll find two

04:33:26    6   columns that are labeled 1, 2, the next page will label it

04:33:31    7   3, 4, 5, 6.    And then down the page, you will have line

04:33:37    8   numbers, and, generally speaking, there are 65 lines in

04:33:40    9   each column.

04:33:42   10             But if at some point you want to look at the

04:33:45   11   patent, look at Column 7, beginning about halfway down, and

04:33:49   12   that paragraph describes what the patent says about the

04:33:57   13   touchscreen and how it relates to the flexible substrate

04:34:01   14   and how it relates to a display.

04:34:03   15             But Figure 7 is described as an example of what

04:34:07   16   wrapping around the edge of a display is.

04:34:10   17             There's a clear cover on the top, and that's just

04:34:13   18   the glass panel.

04:34:15   19             One thing I want you to notice is you notice on

04:34:19   20   the side of the clear cover panel --

04:34:22   21             MR. WARD:    Your Honor, I object.       He's comparing

04:34:24   22   an embodiment to -- for infringement.         He ought to be

04:34:30   23   looking at the claim.      This is improper.      It violates the

04:34:33   24   Court's rules in three different ways.

04:34:35   25             THE COURT:    Well, the purpose of opening
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04:34:37    1   statement, which is not opening argument, is to tell the

04:34:39    2   jury what you expect the evidence will show.           And I'm

04:34:46    3   having a hard time following you, Mr. Haslam, if this is

04:34:49    4   what you believe the evidence is going to show.

04:34:52    5            I'm going to overrule the objection.

04:34:58    6            But you need to move on.

04:35:00    7            MR. HASLAM:     The touch sensor is just the middle

04:35:03    8   part, and that's what the -- what we believe the evidence

04:35:07    9   is going to show was Atmel's invention.

04:35:09   10            Now, there were some statements made that they

04:35:17   11   believe that, based on the relationship that Atmel and

04:35:21   12   Samsung had, that Samsung somehow took Atmel's confidential

04:35:28   13   information.     That's not true.

04:35:33   14            Beginning in 2012, Samsung began looking for an

04:35:39   15   alternative supplier for the external touch sensor that it

04:35:44   16   was using.

04:35:45   17            Among the companies it evaluated was Atmel.             It

04:35:50   18   also evaluated external touch sensors from 3M, LG, and

04:35:57   19   other companies.     And the notion that the technology that

04:36:04   20   Atmel showed Samsung was what somehow Samsung took and used

04:36:10   21   in its phones I think is -- isn't borne out by the

04:36:14   22   evidence.

04:36:14   23            And I put up on the screen some of the excerpts

04:36:18   24   from an Atmel XSense evaluation in 2015.          It's DTX-1148,

04:36:26   25   Pages 4 and 6.
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04:36:28    1            And these are some of the things that Samsung told

04:36:33    2   Atmel that in evaluating its touch sensors it found.             There

04:36:39    3   was a drawing defect in all areas.         The mesh pattern is

04:36:44    4   reflected by outside light to become visible.

04:36:48    5            A metal mesh touch sensor has metal wires which

04:36:52    6   you can't see through.      So one of the problems with a metal

04:36:57    7   mesh touch sensor is you have to make sure that the touch

04:37:01    8   sensor mesh is such that when it goes on the screen, you

04:37:06    9   see the display but not the wires.         And this indicates that

04:37:10   10   there was an issue with the wiring becoming visible.

04:37:13   11            Is it possible to design around Moire?           That's

04:37:20   12   just an issue, and you'll hear about that.           It's a problem

04:37:23   13   that can be caused by something on top of the screen that

04:37:25   14   makes the picture look a little hazy.

04:37:28   15            And they were also asked if they can put their

04:37:30   16   touch sensor on a different material.

04:37:32   17            So, far from taking Atmel's confidential

04:37:42   18   information, Samsung actually, after this evaluation, did

04:37:49   19   go with a new touch sensor, but it was not -- that touch

04:37:54   20   sensor was not accused of infringement because didn't use

04:37:59   21   the same kind of metal mesh that Atmel did.           It was bought

04:38:01   22   from a Japanese company.

04:38:13   23            Now, I want to go on to the Casio patents.

04:38:15   24            The '450 patent -- I put Claim 4 up here.            Claim 4

04:38:25   25   is dependent on Claim 1, which means you would look to
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04:38:29    1   Claim 1 to find the other information that you would need

04:38:35    2   to figure out whether it's infringed.         You would have to

04:38:38    3   find everything in Claim 1, plus everything in Claim 4.

04:38:44    4            And you'll see that Claim 4 talks about a

04:38:47    5   selection transistor, a drive transistor forming a pair.

04:38:52    6   And the selection transistor has a certain function, and

04:38:57    7   the drive transistor has a certain function.

04:39:02    8            And Claim 1 of the '450 patent requires that those

04:39:05    9   transistors be placed in the circuit in specific relation

04:39:11   10   to other elements in the circuit.        And we believe the

04:39:16   11   evidence is going to show that in the Samsung OLED

04:39:21   12   displays, those two transistors do not perform -- the two

04:39:25   13   transistors that they believe infringe this claim --

04:39:29   14            THE COURT:    You have seven minutes remaining.

04:39:31   15            MR. HASLAM:     -- are not the same functions and not

04:39:34   16   in the same location as the claim requires.

04:39:37   17            Now, the '338 is a three-transistor circuit, they

04:39:43   18   said.   One of the inventors on the '450 is the same as one

04:39:50   19   of the inventors on the '338.       That inventor recognized the

04:39:54   20   problems with the '450's two-transistor circuit.

04:40:00   21            They developed a three-transistor circuit,

04:40:03   22   which -- which required, as he said, a plurality of

04:40:08   23   transistors that included three specific ones.            And that's

04:40:10   24   in the bottom of the claim here.

04:40:14   25            A driving transistor connected in a certain way; a
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04:40:19    1   switch transistor which causes something to flow, called a

04:40:25    2   write current; and a holding transistor which must hold the

04:40:29    3   voltage between two specific connections.

04:40:32    4            Again, because of Samsung's innovation and the

04:40:34    5   need to use more transistors than just those three and

04:40:41    6   those three in their system, the ones they point to, do not

04:40:46    7   perform those functions.      And that's what the evidence will

04:40:48    8   show.

04:40:49    9            And here is just the -- Samsung Display's

04:41:01   10   seven-transistor structure.       And you'll be -- our experts

04:41:04   11   will explain and Mr. Kwak will explain how this transistor

04:41:08   12   circuit operates and why the transistors in here do not

04:41:11   13   perform the functions or are not located in the places that

04:41:18   14   the claims require.

04:41:18   15            Now, I want to just touch just briefly on the

04:41:20   16   invalidity issue.     I want to show you two of the things

04:41:24   17   that you're going to see, we believe in this case, that we

04:41:27   18   believe the Patent Office hadn't seen it, would not have

04:41:32   19   issued the '311 patent.

04:41:34   20            This is a United States patent, the Chen, it's a

04:41:37   21   touch sensor.    Apple is the assignee who owns this patent.

04:41:41   22   And here on the left-hand side is -- the gray is what we

04:41:50   23   see on the right-hand side.       A display, an OLED display

04:41:53   24   with red, green, and blue pixels that make all the colors,

04:42:00   25   a glue layer, a flexible substrate, and a touch sensor.
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04:42:04    1              And that touch sensor on the display is on the

04:42:08    2   top, goes around the edge, and down the side.           And the

04:42:10    3   virtual button there was intended to take the place of a

04:42:15    4   mechanical button.     They were going to have the display.

04:42:18    5   You would be able to touch the display instead of having to

04:42:24    6   use a mechanical button.

04:42:25    7              The next is a patent, the Joo, published in 2008,

04:42:30    8   cover for a mobile device and a mobile device having the

04:42:33    9   same.   And, again, you have a display, a base cover or a

04:42:39   10   substrate, and a touch portion that is on the top of the

04:42:43   11   display, goes around the edge and down the side.            And,

04:42:47   12   again, had a virtual button, a button you could press on

04:42:51   13   the display rather than a mechanical button.

04:42:53   14              Now, I want -- I do want to talk briefly about the

04:43:01   15   value of these patents.

04:43:04   16              You heard about the hypothetical negotiation that

04:43:07   17   the experts will talk about.       For the '450 and the '338

04:43:14   18   patents, the hypothetical negotiation would take place in

04:43:17   19   2013.   I want to show you what the evidence is going to

04:43:24   20   show about the relationship between Casio and Samsung at

04:43:26   21   that very time.

04:43:27   22              2008, Casio sold eight display patents to Samsung

04:43:36   23   Electronics for 12 and a half million.

04:43:38   24              2012, Casio sold 85 patents to Samsung for 1.35

04:43:44   25   million.
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04:43:44    1             2012 again, Casio licensed 169 display patents and

04:43:52    2   applications to Samsung Display for 2.1 million.

04:43:57    3             And in 2013, both companies cross-licensed their

04:44:03    4   patents, and the hypothetical negotiation was 2013.

04:44:08    5             Samsung's displays were on the market at this

04:44:13    6   point in time.    If Casio, the owner of these patents,

04:44:18    7   knowing and licensing Samsung at the very time of the

04:44:24    8   hypothetical negotiation, had they thought these patents

04:44:30    9   were worth $60 million, don't you think they would have put

04:44:33   10   them on the table at this point in time and asked for that

04:44:36   11   $60 million?

04:44:40   12             But Casio knew those patents weren't valuable.

04:44:44   13   They weren't being used.      Casio had never made any OLED

04:44:50   14   displays with those patents.

04:44:51   15             Similarly, so they sold the 724 patents and patent

04:44:57   16   applications for 1.15 million, for about $16,000.00 a

04:45:03   17   patent.

04:45:04   18             Similar situation with Atmel.        Atmel had been

04:45:08   19   bought by a company called Microchip.         Microchip decided to

04:45:14   20   sell a bunch of patents, and it hired brokers and experts

04:45:23   21   to value, the portfolio they were trying to sell.            They

04:45:25   22   went around to more than 50 companies, including Samsung,

04:45:28   23   to try to sell that portfolio.

04:45:30   24             And on the right-hand side of this slide, you'll

04:45:32   25   see some of the reason -- some of the feedback that
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04:45:37    1   Microchip got when they were trying to sell these patents.

04:45:42    2   Risk of technology obsolescence as a reason to pass or

04:45:49    3   reduce bids, obsolescence.

04:45:52    4             Ease of design around.      You don't need to use them

04:45:55    5   if you can come up with other ways to do it.

04:45:58    6             High cost of maintenance, and the overall value

04:46:00    7   was pegged at 2.4 out of 5.       So Microchip ultimately sold

04:46:07    8   500,000 patents to Solas -- sold 12 patents for

04:46:11    9   $500,000.00, which is about $41,000.00 per patent.

04:46:18   10             So at the end of the day, I'm going to ask you to

04:46:22   11   reward Samsung for its innovation, for the fact that we all

04:46:26   12   have, as even Plaintiff's counsel said, the bright, vivid,

04:46:32   13   great contrast, energy-saving OLED displays we have.

04:46:36   14             THE COURT:     Your time is expired, counsel.        Take a

04:46:39   15   few seconds and wrap up.

04:46:41   16             MR. HASLAM:     I'm going to ask you at the end of

04:46:43   17   the case not for a monetary award, but to reward the

04:46:49   18   innovation of Samsung with a finding of non-infringement.

04:46:54   19             Thank you.

04:46:55   20             THE COURT:     All right.   Is Plaintiff prepared to

04:47:00   21   go forward with its case-in-chief?

04:47:02   22             MS. FAIR:     Yes, Your Honor.

04:47:03   23             THE COURT:     Call your first witness.

04:47:05   24             MS. FAIR:     Your Honor, Solas calls Mr. Gerry

04:47:09   25   Padian.
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04:47:09    1              THE COURT:    All right.   You'll come forward,

04:47:11    2   Mr. Padian, and be sworn.       Our courtroom deputy will swear

04:47:16    3   you in right here.

04:47:17    4              (Witness sworn.)

04:47:25    5              THE COURT:    Thank you, sir.    Please come around,

04:47:28    6   and have a seat here at the witness stand.

04:47:36    7              There's water there if you'd like it.         Once you're

04:47:40    8   situated, please take off your mask, and situate the

04:47:43    9   microphone so you can be heard.

04:47:46   10              All right.    Ms.   Fair, you may proceed with your

04:47:50   11   direct examination.

04:47:51   12              MS. FAIR:    Thank you, Your Honor.

04:47:51   13               GERRY PADIAN, PLAINTIFF'S WITNESS, SWORN

04:47:51   14                            DIRECT EXAMINATION

04:47:52   15   BY MS. FAIR:

04:47:52   16   Q.   Mr. Padian, would you introduce yourself, please?

04:47:58   17   A.   Yes, my name is Gerry Padian.       I'm a co-founder of

04:48:02   18   Solas OLED.    And I am a director on the board of directors

04:48:07   19   of Solas OLED.

04:48:08   20   Q.   What do you do as a director of Solas OLED?

04:48:10   21   A.   We -- I plan the strategy of the company.          I assist in

04:48:16   22   the licensing and generally oversee the management of the

04:48:18   23   company.

04:48:19   24   Q.   I want to talk about Solas OLED's business in just a

04:48:22   25   minute.    But could you tell us a little bit about yourself
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04:48:26    1   first?

04:48:26    2   A.   Yes.    I'm married for 24 years.      My wife is Patricia.

04:48:31    3   We live in Katonah, New York -- it's about an hour north of

04:48:35    4   New York City -- with our kids and my in-laws.            I have two

04:48:38    5   children, Luke and Katherine, both are in college.              My son,

04:48:42    6   Luke, just started freshman year.        My daughter is about to

04:48:46    7   graduate.

04:48:46    8   Q.   So could you tell the jury what is Solas OLED?             What

04:48:50    9   type of business is it?

04:48:51   10   A.   Solas OLED is a display technology company.          It has

04:48:55   11   purchased patents in the display area, primarily OLED

04:49:00   12   technology and touch sensor technology.

04:49:03   13               Solas OLED seeks to license those patents, and

04:49:07   14   that's how it generates its revenue.

04:49:09   15               THE COURT:    Let me interrupt you just a minute,

04:49:11   16   counsel.

04:49:11   17               Does either party wish to invoke the Rule?

04:49:18   18               MR. LERNER:    We do, Your Honor.

04:49:20   19               THE COURT:    All right.   Defendants wish to invoke

04:49:22   20   the Rule.

04:49:22   21               Am I correct in assuming that that would apply to

04:49:26   22   fact witnesses but exclude expert witnesses?

04:49:32   23               MR. HASLAM:    Your Honor, I'm going to take the

04:49:34   24   prerogative of being old and senile and overrule my

04:49:38   25   partner, and we're not going to invoke the Rule.            I
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04:49:42    1   apologize.

04:49:42    2            THE COURT:     All right.    Defendants have changed

04:49:44    3   their position.

04:49:44    4            Do Plaintiffs wish to invoke the Rule?

04:49:48    5            MR. FENSTER:     Yes, Your Honor.      I apologize for

04:49:57    6   that.   Yes, we would like to invoke the Rule, Your Honor.

04:50:00    7            THE COURT:     And am I right, Mr. Fenster, that you

04:50:02    8   would propose it be invoked to exclude experts and to

04:50:07    9   include fact witnesses?

04:50:09   10            MR. FENSTER:     That's correct, Your Honor.

04:50:10   11            THE COURT:     All right.    Either party has the right

04:50:12   12   to invoke the Rule, ladies and gentlemen.          The Rule

04:50:15   13   requires that if you are a witness in this case, that you

04:50:18   14   be excluded from the courtroom until you are called into

04:50:22   15   the courtroom to testify.

04:50:24   16            The exceptions in this case will be witnesses

04:50:26   17   designated as experts, who will be permitted to stay in the

04:50:30   18   courtroom and hear the testimony of the other witnesses.

04:50:33   19   It also excludes the designated representatives of the

04:50:38   20   corporate parties to the case.

04:50:39   21            So corporate representatives and expert witnesses

04:50:42   22   are excluded.     All other witnesses, particularly fact

04:50:46   23   witnesses, are subject to the Rule.         And if you are such a

04:50:49   24   fact witness intended as a witness in this case, you should

04:50:53   25   excuse yourselves and remain outside the courtroom until
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04:50:55    1   such time as you're called to testify.

04:50:57    2              The Rule is invoked.

04:50:59    3              Ms. Fair, my apologies for not taking that up

04:51:02    4   earlier.     Please continue with your direct examination.

04:51:04    5              MS. FAIR:    Thank you, Your Honor.

04:51:06    6   Q.   (By Ms. Fair)     Mr. Padian, you told us that Solas

04:51:09    7   OLED's business, you own a patent portfolio, and you seek

04:51:12    8   to license it.     As a company with this technology, do you

04:51:18    9   have a technical background?

04:51:19   10   A.   I do not.   I have a degree in economics and a law

04:51:23   11   degree.

04:51:23   12   Q.   How is it that you got into a business that owns

04:51:26   13   technology?

04:51:26   14   A.   I was representing a friend of mine from college, and

04:51:31   15   he had a satellite company.       We represented him in the sale

04:51:35   16   of that company.       After he had sold the company, he was

04:51:38   17   looking to start up a new company.         He had this idea to

04:51:41   18   apply what he'd learned in the satellite industry to what

04:51:46   19   was then becoming the Internet, the boom of the Internet,

04:51:49   20   1997.     And we decided to invest with him, and that's how I

04:51:52   21   got involved with technology for the first time.

04:51:54   22   Q.   What was the business plan of this venture with your

04:51:57   23   friend from college?

04:51:58   24   A.   So Jay was a genius.     He was always the smartest --

04:52:02   25   Mr. Fallon was always the smartest person that I knew going
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04:52:06    1   to college.     He had invented a way of compressing and

04:52:09    2   decompressing data on the fly so that it would speed up the

04:52:13    3   delivery of data over the Internet and -- and -- and the

04:52:19    4   capacity of the pipeline over the Internet.

04:52:21    5            This is what he learned from the satellite

04:52:23    6   business where you have a transponder and you're increasing

04:52:26    7   the bandwidth to a satellite, he applied that technology

04:52:29    8   and those ideas to the Internet.

04:52:32    9            So we developed products, hardware products,

04:52:35   10   software products, and fortunately also applied for patents

04:52:38   11   on those inventions.

04:52:39   12   Q.   What did you plan to do with the products that you had

04:52:42   13   made?

04:52:42   14   A.   We initially went out to -- with the products and

04:52:47   15   demonstrated them to larger companies, some of the largest

04:52:50   16   technology companies in the world.         We showed them the

04:52:52   17   products, we showed them the concepts, the inventions, the

04:52:55   18   software.     And our hope was to partner with one of these

04:52:58   19   companies so that they would be able to do the

04:53:00   20   manufacturing, and we would be able to provide them with

04:53:03   21   the patent cover and the ideas.

04:53:06   22   Q.   Did it work out?

04:53:07   23   A.   Not that part of the business, no, it did not.

04:53:09   24   Q.   So where did you go from there?

04:53:11   25   A.   We found that many of the companies we had demonstrated
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04:53:15    1   and shown the products to a few years later were actually

04:53:18    2   utilizing them without ever contacting us, so much as even

04:53:23    3   a phone call.

04:53:24    4              As I said before, fortunately we had patents that

04:53:26    5   had issued at that time.      The patents were taking a while

04:53:30    6   to issue, about five years.       But when they issued, we

04:53:34    7   pivoted and we changed our business to essentially go out

04:53:37    8   and license -- essentially attempt to get those companies

04:53:39    9   using our technology to pay for it.

04:53:41   10   Q.   What did you learn from negotiating with these

04:53:43   11   companies when you were seeking to license patents?

04:53:45   12   A.   We were six guys in a room, and they were very large

04:53:50   13   corporations, and what we realized was it's not that

04:53:53   14   simple.     You can't just send a letter or give them a call

04:53:55   15   and say, hey, this is what you're using, here's our patent,

04:53:59   16   and pay.     You have the door closed in your face.         They will

04:54:03   17   not pay you by simply going to them.         Unless you're an

04:54:06   18   equally large company or you bring them to a place like

04:54:10   19   this, a court of law, and they're told that they have to

04:54:12   20   pay.

04:54:13   21   Q.   Were you able to negotiate licenses and execute

04:54:15   22   licenses?

04:54:16   23   A.   We were.   Took a long time and it took a lot of time

04:54:23   24   money and effort, but we were able to do that and we were

04:54:26   25   able to obtain licenses, pay back our investors, people
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04:54:30    1   that stood by us all those years.

04:54:30    2   Q.   Is this a new business model to own patents and

04:54:33    3   negotiate licenses and not actually make a product?

04:54:35    4   A.   No.   It goes back to really the founding of the patent

04:54:39    5   system, the Constitution.       Thomas Edison was one of the

04:54:42    6   biggest inventors, as we all know, but made most of his

04:54:46    7   money by simply licensing his inventions, not selling the

04:54:50    8   products.    So it's as old as the system itself.          It's a

04:54:54    9   very, very important part of the system because it creates

04:54:57   10   a market for inventions.

04:54:58   11              So if you're not fortunate enough to be able to

04:55:00   12   make the product or simply don't want to make the product,

04:55:02   13   perhaps you're an idea person and you're not a

04:55:05   14   manufacturer, this gives you the market to benefit and

04:55:08   15   receive money for it so you can continue to monetize -- you

04:55:12   16   can continue to invent and innovate.

04:55:15   17   Q.   How is it that you became a director of Solas OLED?

04:55:19   18   A.   Well, we were still -- the company that we had found

04:55:22   19   with my friend from college was called Realtime Data.               We

04:55:23   20   were working at Realtime Data, and we started to get notice

04:55:26   21   from a lot of other companies, some operating companies who

04:55:29   22   had great inventions but weren't necessarily producing them

04:55:33   23   that wanted to sell their patents, some brokers who deal in

04:55:37   24   that market, as I said before.        And we were being

04:55:39   25   approached by a lot of people to do the same with their
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04:55:42    1   patents as we were doing with ours.

04:55:44    2   Q.   Was there a particular set of patents that piqued your

04:55:49    3   interest?

04:55:49    4   A.   Yes.    We receive hundreds of patents every year, and

04:55:53    5   when we saw the Casio patent portfolio, I had not heard of

04:55:57    6   OLED at that time, it was 2016, but one of my business

04:55:59    7   partners had.     And he had been following it very closely.

04:56:02    8   He had previously been in the display industry, and he was

04:56:05    9   very excited and said we should look at it.

04:56:07   10   Q.   Was that enough?    You have a business partner who says:

04:56:10   11   I love these patents.      Let's go buy them.      Is that the next

04:56:13   12   step?

04:56:13   13   A.   No, not at all.

04:56:14   14   Q.   What do you do from there?

04:56:16   15   A.   We had to spend a lot of time, money, and effort to

04:56:20   16   investigate the patents.      We wanted to see, number one,

04:56:23   17   were the patents valid?      Were they -- did they encompass a

04:56:28   18   unique idea?     Were they truly inventive?       Were they used in

04:56:33   19   the marketplace?     There's a lot that you have to do to --

04:56:36   20   you have to decide how big the marketplace is.            Is it

04:56:40   21   worthwhile while buying and spending the million of dollars

04:56:42   22   it takes to monetize it, to license it.

04:56:44   23               So we looked at the patents.      We hired expert

04:56:48   24   patent counsel.     We hired OLED experts.       And we just spent

04:56:52   25   a lot of time looking over the patents to prove those
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04:56:54    1   things that they were valid, they were infringed.

04:56:57    2   Q.   And this is all before you bought the patents?

04:57:00    3   A.   Correct.

04:57:00    4   Q.   So you invest the time and energy looking at the

04:57:04    5   patents.     I guess you ultimately decided to buy them?

04:57:07    6   A.   We did.

04:57:08    7              MS. FAIR:   Can we pull up, please, Mr. Wietholter,

04:57:12    8   PTX-550?

04:57:16    9   Q.   (By Ms. Fair)     What are we looking at, Mr. Padian?

04:57:22   10   A.   This is the patent purchase agreement dated April

04:57:27   11   16th -- I'm sorry, dated April 11th, 2016, between Casio

04:57:31   12   and Solas OLED, our company.

04:57:33   13   Q.   And we heard earlier today about what type of business

04:57:37   14   Casio was.      In your -- in your looking into this patent

04:57:42   15   portfolio, what did you learn about Casio in the OLED

04:57:44   16   space?

04:57:44   17   A.   Casio was actually an early innovator in the OLED

04:57:50   18   space.     They had looked at it.     They were -- you had the

04:57:54   19   Casio watches.      You also had the Casio cameras, the small

04:57:58   20   Casio cameras.      And they were looking to put OLEDs on those

04:58:01   21   cameras.

04:58:01   22              So they were very early on looking at the

04:58:04   23   possibility of OLEDs.      They had a lot of smart engineers,

04:58:08   24   and they focused their engineers into developing OLED

04:58:11   25   technology, which they did successfully.
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04:58:13    1   Q.   So do you think because Casio doesn't actually make

04:58:18    2   displays today, their inventions must not be worth

04:58:20    3   anything?

04:58:21    4   A.   Not at all.     Kodak, which is really another very large

04:58:27    5   pioneer in the OLED space, doesn't currently make OLEDs,

04:58:30    6   and yet they're highly regarded as one of the innovators.

04:58:35    7   Casio, another camera company, was the same --

04:58:38    8            THE COURT:     Wait a minute.     Mr. Padian, nobody

04:58:40    9   asked you about Kodak.      You need to limit your answers to

04:58:44   10   the questions asked.      Ms. Fair is perfectly capable of

04:58:48   11   asking you anything she wants you to talk about.            But the

04:58:50   12   fact that you talk about Casio cameras doesn't open the

04:58:53   13   door to talking about Kodak or Nikon or any other camera

04:58:57   14   manufacturer.      Try to limit your answers to the questions

04:59:00   15   asked, sir.

04:59:00   16            THE WITNESS:     Yes, sir.

04:59:01   17            THE COURT:     Let's continue.

04:59:03   18            MS. FAIR:     Mr. Wietholter, if we go to Page 2,

04:59:06   19   Paragraph 2.

04:59:07   20   Q.   (By Ms. Fair)     What was the purchase price for your

04:59:10   21   portfolio that you bought from Casio?

04:59:11   22   A.   $1,150,000.00.

04:59:14   23   Q.   And what did you get for that?

04:59:16   24   A.   We got the patent portfolio of 725 patents and patent

04:59:22   25   applications.      It was several patent applications.
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04:59:24    1   Q.    Does it make a difference if some of what's in the mix

04:59:28    2   of what you buy are patents versus patent applications?

04:59:31    3   A.    Yes.

04:59:31    4   Q.    Why is that?

04:59:32    5   A.    Patent applications are applications to the Patent

04:59:34    6   Office that have not yet been issued.         So you're taking the

04:59:38    7   risk that they may never be issued.

04:59:40    8   Q.    When you're looking at a portfolio like this and you've

04:59:43    9   done all of the work on the front end before you buy the

04:59:46   10   patents, can you know for sure that you're getting a lot of

04:59:49   11   value in the portfolio?       You know you've got a good deal

04:59:52   12   here?

04:59:53   13   A.    No.

04:59:53   14   Q.    Why not?

04:59:53   15   A.    You don't know really until you begin to look at the

04:59:57   16   products in the marketplace whether or not they're using

05:00:00   17   the patents that you just purchased.

05:00:01   18   Q.    Why can't you know that until you go look further into

05:00:05   19   it?

05:00:05   20   A.    Because it takes millions of dollars to actually do

05:00:09   21   that.       You need to buy the products.    You need to tear them

05:00:13   22   down.       You need to determine whether or not what's inside

05:00:15   23   those products is actually what is represented in your

05:00:19   24   patents.       It's a high risk/high reward business.

05:00:24   25   Q.    And so did you do that after you bought this portfolio?
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05:00:27    1   A.   We did.

05:00:27    2   Q.   What -- tell us who you engaged, what you did to look

05:00:30    3   into these patents.

05:00:31    4   A.   So we built a business around these patents.           We hired

05:00:35    5   really smart engineers.      We set up in Ireland where I knew

05:00:41    6   a lot of really good engineers, particularly in this space.

05:00:46    7            And we also went out and hired labs.           There's a

05:00:47    8   few labs in the world that were particularly good at doing

05:00:50    9   this.   We hired two of them.      One was in Ireland, and one

05:00:52   10   was in the Ukraine.

05:00:55   11   Q.   And what do those labs do?

05:00:58   12   A.   So using the one in Ireland, a lab called Tyndall, they

05:01:02   13   take the phone -- in this case Samsung phone -- and they

05:01:06   14   delayer it.    They take it apart layer by layer and look at

05:01:09   15   each layer with microscopes and analyze the circuitry of

05:01:13   16   those -- of those -- of the phone and compare it

05:01:19   17   claim-by-claim to your patent, and it has to match.

05:01:21   18   Q.   So is use of an invention, like some of what we're

05:01:24   19   talking about in this case, something that's readily

05:01:26   20   apparent when you just -- you know, you got a smart

05:01:29   21   engineer can look at the device and see it?

05:01:31   22   A.   Absolutely not.

05:01:32   23   Q.   Is the 1.15 million that you paid for these patents, is

05:01:37   24   that the true price that it takes when you're investing in

05:01:40   25   something like this?
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05:01:41    1   A.   No, ma'am.

05:01:42    2   Q.   How much more goes into it?

05:01:43    3   A.   Even before we bought it, we had spent hundreds of

05:01:47    4   thousands of dollars just looking at the patents.            And as I

05:01:50    5   just mentioned before, after we purchased it, we literally

05:01:53    6   spent million of dollars tearing down the products and

05:01:56    7   looking and analyzing the products to see if, in fact, they

05:01:59    8   did infringe.     So the real price was millions.

05:02:02    9   Q.   Did anyone else look at these patents?

05:02:04   10   A.   Yes.

05:02:04   11   Q.   Who?

05:02:05   12   A.   We never learned the names, but we knew there were

05:02:09   13   other competitors who were bidding to purchase these

05:02:13   14   patents.

05:02:14   15   Q.   What about after you bought them?        Was there anyone

05:02:16   16   else who looked at them then?

05:02:19   17   A.   Yes.

05:02:20   18   Q.   Who was that?

05:02:20   19   A.   We had investors that came in -- sophisticated

05:02:24   20   investors who looked at the patents to invest with us.

05:02:27   21   Q.   Are all 700 patents and patent applications -- 725, I

05:02:33   22   think, it was you said?

05:02:35   23   A.   Yes.

05:02:35   24   Q.   Are they all worth the same amount?

05:02:38   25   A.   No.
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05:02:38    1   Q.   Can you tell us what do you expect when you buy a

05:02:44    2   portfolio of this size to find in it in terms of where the

05:02:49    3   value lies?

05:02:50    4   A.   It's difficult.    When you first get it, you're

05:02:54    5   presented here with a few patents they showed us out of the

05:02:56    6   725 that they thought had the value.         And we had to look at

05:03:00    7   725 patents.    Generally, it's less than 10 percent of those

05:03:03    8   patents that you'll find that hold the true value of what

05:03:06    9   you own.

05:03:07   10   Q.   When you did all of this technical analysis, you really

05:03:10   11   looked into it, spent -- by the way, how long did you spend

05:03:13   12   looking at the patents before you bought them?

05:03:15   13   A.   Months.   We started looking at this in 2015, and we

05:03:18   14   purchased it in April of 2016.

05:03:22   15   Q.   And how long did you spend looking into potential use

05:03:26   16   of this portfolio after you bought it?

05:03:28   17   A.   Years.

05:03:29   18   Q.   After all of this work, spent the money, spent the

05:03:35   19   time, spent the energy, what was the ultimate conclusion?

05:03:39   20   A.   We were very happy with what we found.         We were -- it

05:03:44   21   exceeded our expectations.       There was far more infringement

05:03:48   22   and far more use of these patented technologies than we had

05:03:51   23   ever hoped when we first bought the portfolio.

05:03:54   24   Q.   Why would a company like Casio, a sophisticated

05:04:00   25   electronics company, you said innovator in the OLED space,
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05:04:02    1   why would they sell a portfolio like this of $1.15 million

05:04:09    2   if there's tens of millions of dollars of revenue out there

05:04:14    3   for the use of these patents?

05:04:16    4   A.   We don't believe they knew what they had.         They had --

05:04:20    5   since the time they sold it to us, they had left the OLED

05:04:25    6   marketplace, and they really didn't know what they had.

05:04:27    7            And at the point they left the marketplace, that

05:04:29    8   patent portfolio went from being an asset to a liability

05:04:32    9   because it's carried then on their books.         They have to pay

05:04:35   10   several hundred thousand dollars a year in just maintenance

05:04:39   11   fees, paying all the different Patent Offices around the

05:04:41   12   world to maintain the patent.

05:04:43   13            So they then took a liability off their books.             We

05:04:47   14   bought it for $1,150,000.00.      We don't believe they ever

05:04:51   15   really knew the amount of infringement that was out there.

05:04:54   16            And, in addition, it's not what they do.           Casio

05:04:57   17   manufactures products.     We do this.     We find the value in

05:05:01   18   the patents.   We go out and find where that's being

05:05:04   19   utilized in the marketplace.      Our engineers are

05:05:07   20   specifically skilled at doing that.        That's not Casio's

05:05:11   21   business.

05:05:11   22   Q.   Did Casio have the confidential information that

05:05:16   23   Samsung has produced in this lawsuit?

05:05:19   24            MR. LERNER:    Objection, Your Honor.        Calls for

05:05:21   25   speculation.
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05:05:23    1              THE COURT:    Unless he has personal knowledge of

05:05:24    2   what Casio had, I'll sustain that.

05:05:29    3   Q.   (By Ms. Fair)      Is the confidential information that

05:05:30    4   Casio produced in this lawsuit publicly available, that

05:05:33    5   anybody can go find it and know?

05:05:35    6   A.   No.   We certainly couldn't find it.

05:05:37    7   Q.   What about the detailed financial sales information of

05:05:41    8   Samsung's products that's been produced in this lawsuit, is

05:05:44    9   that just out there for anyone who wants to know about it?

05:05:47   10   A.   No.

05:05:47   11   Q.   So can you really know about the true extent of the use

05:05:50   12   of the technology?

05:05:52   13   A.   No.   It's not available.

05:05:55   14   Q.   So we've heard that two of the patents in this lawsuit

05:06:03   15   come from the Casio portfolio.       There's a third one, the

05:06:07   16   touch sensor patent, the '311.       How did Solas come to own

05:06:11   17   the '311 patent?

05:06:11   18   A.   The '311 patent was part of a group of patents, about

05:06:16   19   12 patents, that a company called Microchip was selling.

05:06:20   20   We saw it, and we thought that those particular patents

05:06:26   21   were uniquely compatible to what we had already at Solas

05:06:32   22   with the Casio patent.

05:06:32   23   Q.   And how did you find out about Microchip selling these

05:06:35   24   patents?

05:06:35   25   A.   A broker from a company called Houlihan Lokey, Pallavi
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05:06:41    1   Shah, she contacted us.

05:06:42    2   Q.   Why are the brokers that are trying to sell these

05:06:45    3   patents, the Casio portfolio, you said hundreds of others

05:06:46    4   had approached you, the Microchip portfolio, why are these

05:06:48    5   brokers approaching you and your business partners?

05:06:52    6   A.   We have been able to successfully find infringement and

05:06:55    7   to monetize it, to get licenses from those who infringe.

05:06:59    8   So it takes their clients, which would be in this case,

05:07:03    9   Microchip, can generate money for their inventions.

05:07:07   10   Q.   Did you, when you were looking at the Microchip

05:07:11   11   portfolio, look at the patents before you bought them, like

05:07:13   12   had you done with Casio?

05:07:14   13   A.   Yes.

05:07:14   14   Q.   And did you have others who looked at the patents, as

05:07:19   15   well, when you were considering purchasing them?

05:07:21   16   A.   We did.

05:07:22   17   Q.   Who was that?

05:07:22   18   A.   Again, we hired experts, patent experts, and also

05:07:27   19   experts in this particular technology to look at it.            We

05:07:30   20   also hired financial experts, experts to examine the

05:07:33   21   market, the size of the market, and what we thought we

05:07:36   22   could recover based on -- for this investment.

05:07:38   23   Q.   What about your investors?

05:07:40   24   A.   And we also had the same group of investors came in and

05:07:44   25   looked at it.   And when they did, they hired their own
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05:07:48    1   experts and their own attorneys to look at it completely

05:07:51    2   independent from us.

05:07:52    3             MS. FAIR:   Mr. Wietholter, could we have PTX-549,

05:07:58    4   please?

05:07:58    5   Q.   (By Ms. Fair)    If we look at the first paragraph here,

05:08:00    6   Mr. Padian, can you tell us what we're looking at?

05:08:02    7   A.   This is the patent and sale -- sorry, patent sale and

05:08:06    8   assignment agreement between Microchip and Solas OLED.

05:08:11    9             MS. FAIR:   And, Mr. Wietholter, could we go to

05:08:14   10   Page 7, please, Paragraph 5.1?

05:08:22   11   Q.   (By Ms. Fair)    What was the purchase price of the

05:08:24   12   portfolio you bought from Microchip?

05:08:25   13   A.   $500,000.00.

05:08:26   14   Q.   And what did you get for that?

05:08:28   15   A.   12 patents, and I believe there were a couple of

05:08:30   16   applications for this, as well.

05:08:32   17   Q.   When you spend 1.15 million for the purchase price of

05:08:37   18   Casio, 500,000 for the purchase price of the Microchip

05:08:40   19   portfolio, is that all you expect the portfolio to generate

05:08:45   20   in licensing revenue?

05:08:46   21   A.   No, ma'am.

05:08:46   22   Q.   What are your expectations?

05:08:49   23   A.   We're expecting -- we're entrusted with our investors'

05:08:53   24   money.    We're expected to make a return on that money.          So

05:08:56   25   what we're trying to do is we're trying to get a return to
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05:08:58    1   find who's using it and to be compensated fairly for that

05:09:01    2   use, plus certainly an amount far in excess of what we pay

05:09:04    3   for the patents and what we invest to determine the

05:09:07    4   infringement.

05:09:08    5   Q.   You pay $500,000.00 for a portfolio -- by the way, did

05:09:14    6   you tell us how much -- how many patents and patent

05:09:17    7   applications you got for this?

05:09:18    8   A.   12.

05:09:19    9   Q.   Pay $500,000.00 for 12 patents, patent applications.

05:09:23   10   You're here seeking just for the '311 over $35 million from

05:09:27   11   Samsung; is that fair?

05:09:29   12   A.   Yes, it all comes back to usage.       If -- if Samsung is

05:09:34   13   using it, to the extent that they are, then they pay

05:09:38   14   according to usage.       They don't pay according to what you

05:09:41   15   bought the patent for or what it cost you to invent the

05:09:46   16   product.     They pay you based on usage.

05:09:48   17   Q.   Has Solas been able to license its portfolio yet?

05:09:52   18   A.   Yes.

05:09:52   19   Q.   When did you get your first license?

05:09:55   20   A.   September of last year.

05:09:57   21               MS. FAIR:    And, Your Honor, at this time, we're

05:09:58   22   going to have to go into some license agreements, and so

05:10:01   23   I'd asked if we could seal the courtroom, please.

05:10:04   24               THE COURT:    All right.   Based on, counsel's

05:10:07   25   request, I'll order the courtroom sealed.         Those present
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05:10:10    1   not subject to the protective order in this case should

05:10:12    2   excuse themselves and remain outside the courtroom until

05:10:14    3   the courtroom is reopened and unsealed.

05:10:25    4            THE COURT:    Let's use the backdoor in the

05:10:31    5   courtroom, not the side door, please.

05:10:33    6            (Courtroom sealed.)

05:10:33    7            (This portion of the transcript is sealed

05:10:33    8            and filed under separate cover as

05:10:42    9            Sealed Portion No. 1.)

05:19:37   10            (Courtroom unsealed.)

05:20:08   11            THE COURT:    All right.     For the record, the

05:20:10   12   courtroom is unsealed.

05:20:11   13            Counsel, you may proceed with cross-examination.

05:20:13   14            MR. LERNER:    Thank you, Your Honor.

05:20:13   15                           CROSS-EXAMINATION

05:20:13   16   BY MR. LERNER:

05:20:19   17   Q.   Good afternoon, Mr. Padian.

05:20:20   18   A.   Good afternoon.

05:20:21   19   Q.   My name is Jeff Lerner, counsel for Samsung Display and

05:20:24   20   Samsung Electronics.     I want to talk to you about what

05:20:25   21   Solas is and what it isn't.      You said, if I got it down

05:20:28   22   right, that Solas is -- if -- is a display technology

05:20:31   23   company; is that right?

05:20:32   24   A.   We own display technologies.

05:20:34   25   Q.   Did you say, sir, that Solas is a display technology
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05:20:37    1   company?

05:20:38    2   A.   I -- well, Solas is -- I don't recall, sir.          I -- Solas

05:20:42    3   owns display technologies.      It is a licensor of display

05:20:45    4   technologies.

05:20:46    5   Q.   Okay.     And you talked about Thomas Edison.      Do you

05:20:49    6   recall that?

05:20:50    7   A.   Yes, sir.

05:20:50    8   Q.   Thomas Edison invented the light bulb?

05:20:53    9   A.   He did.

05:20:54   10   Q.   Solas hasn't invented any of its own technology that's

05:20:57   11   patented?

05:20:57   12   A.   It has not.

05:20:58   13   Q.   Solas didn't develop any of the technology at issue in

05:21:01   14   this case; is that correct?

05:21:02   15   A.   That's correct.

05:21:03   16   Q.   Solas has never made an Organic Light-Emitting Diode

05:21:09   17   display?

05:21:09   18   A.   No, sir.

05:21:10   19   Q.   Solas has never made any display at all, correct?

05:21:12   20   A.   No.

05:21:13   21   Q.   Solas has never made a touch sensor?

05:21:15   22   A.   No.

05:21:15   23   Q.   Solas has never manufactured any products?

05:21:18   24   A.   Correct.

05:21:19   25   Q.   Solas has never made any prototypes?
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05:21:22    1   A.   Correct.

05:21:22    2   Q.   You're an investor in Solas, correct?

05:21:24    3   A.   I am.

05:21:25    4   Q.   And, actually, you have a personal financial stake in

05:21:29    5   the outcome of this case; is that correct?

05:21:30    6   A.   As an investor, I do.

05:21:31    7   Q.   You're not an employee of Solas?

05:21:34    8   A.   No.

05:21:34    9   Q.   In fact, Solas has no employees, correct?

05:21:37   10   A.   I don't believe that is correct.

05:21:38   11   Q.   Solas doesn't have any employees on its payroll,

05:21:42   12   correct?

05:21:42   13   A.   There may be one or two, but, primarily, the employees

05:21:46   14   that work for Solas work for a different company, and the

05:21:49   15   services are run through that different company.

05:21:51   16   Q.   Do you know Mr. Ciaran O'Gara?

05:21:55   17   A.   Yes, sir.

05:21:56   18   Q.   And when he was asked during discovery --

05:21:59   19              MS. FAIR:     Objection, Your Honor.    This is

05:22:01   20   improper impeachment.       He's trying to use a statement of

05:22:03   21   another witness against Mr. Padian.

05:22:06   22              MR. LERNER:     He's the director of the company,

05:22:09   23   Your Honor.

05:22:09   24              MS. FAIR:     It's hearsay.

05:22:11   25              THE COURT:     We're not there yet, Ms. Fair.      You
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05:22:13    1   can reurge your objection if we get there.          But we're not

05:22:16    2   at -- I don't see that there's been an attempt to impeach

05:22:19    3   the witness.

05:22:19    4              Go ahead, Mr. Lerner.

05:22:21    5   Q.   (By Mr. Lerner)      Mr. O'Gara testified when asked:       So

05:22:24    6   currently there's no --

05:22:24    7              MS. FAIR:     Objection, Your Honor.     This is

05:22:27    8   hearsay.     It's an out-of-court statement being offered for

05:22:29    9   the truth of the matter asserted.          Otherwise, he's trying

05:22:32   10   to impeach him, which is improper.

05:22:34   11              THE COURT:     All right.     What's your response,

05:22:35   12   Mr. Lerner?

05:22:36   13              MR. LERNER:     Your Honor, it's an admission by an

05:22:38   14   officer of the company.

05:22:39   15              MS. FAIR:     It's deposition testimony, Your Honor.

05:22:41   16   They can designate it for their case.

05:22:43   17              THE COURT:     As -- was this witness designated as a

05:22:49   18   30(b)(6) witness when he was deposed as a 30(b)(6) witness

05:22:53   19   of the Plaintiff?

05:22:57   20              MR. LERNER:     He was not.

05:22:58   21              THE COURT:     All right.     Then I'll sustain the

05:23:00   22   objection.

05:23:01   23              Let's move along.

05:23:02   24   Q.   (By Mr. Lerner)      Now, Mr. Padian, you mentioned you're

05:23:06   25   not an engineer?
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05:23:07    1   A.   No, sir.

05:23:08    2   Q.   You're an attorney?

05:23:09    3   A.   I am an attorney.

05:23:10    4   Q.   And you still practice law at a law firm in New York?

05:23:12    5   A.   No, sir.

05:23:13    6   Q.   And do you understand there's a law firm, Davidoff

05:23:22    7   Hutcher & Citron that still has your web bio as an attorney

05:23:23    8   at that firm?

05:23:23    9   A.   Yes, sir.

05:23:24   10   Q.   But you're an attorney there actually?

05:23:26   11   A.   No, sir.    We merged our firm when I stopped practicing

05:23:29   12   law with that firm, and they maintained my information for

05:23:32   13   my clients that went there.

05:23:34   14   Q.   And you've personally never designed any OLED displays

05:23:37   15   or touch sensors?

05:23:38   16   A.   No.

05:23:38   17   Q.   You don't have any expertise in the patents at issue?

05:23:41   18   A.   I have no technical background.

05:23:42   19   Q.   You're not offering any opinions on infringement?

05:23:44   20   A.   No, sir.

05:23:45   21   Q.   You didn't analyze any prior art?

05:23:47   22   A.   No.   We hired experts for that, sir.

05:23:51   23   Q.   And you're not offering opinions on the validity or

05:24:00   24   invalidity of the patents in this case, correct?

05:24:02   25   A.   I will not, no.
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05:24:03    1   Q.   Now, if we can turn to the asserted patents.

05:24:06    2               Can you remind us, I'm not sure we heard it today,

05:24:10    3   who are the named inventors of the '450 and '338 patents?

05:24:12    4   A.   The -- there are several different Defendants.          So the

05:24:15    5   four -- the '331 and -- sorry, the '311 and the '338 come

05:24:22    6   from Casio.      There is Mr. Yamada who is on one of them, and

05:24:29    7   Mr. Shirasaki who is on two of them.

05:24:32    8   Q.   Okay.

05:24:32    9   A.   There is a Mr. Shaikh who was on the '450.         And there

05:24:36   10   were a couple of other inventors, as well, but those are

05:24:40   11   the primary.

05:24:40   12   Q.   None of the people who are named as inventors ever

05:24:43   13   worked for Solas, correct?

05:24:44   14   A.   They did not, sir.

05:24:45   15   Q.   And the '450 patent, that was filed by Casio in 1997?

05:24:49   16   A.   I believe that's correct.

05:24:51   17   Q.   And it expired in 2017?

05:24:53   18   A.   It did.

05:24:54   19   Q.   That's more than three years ago?

05:24:56   20   A.   Yes, sir.

05:24:56   21   Q.   Casio is a big company, right?

05:24:58   22   A.   Casio is a big company.

05:25:00   23   Q.   In Japan?

05:25:01   24   A.   Yes.

05:25:01   25   Q.   Has a lot of engineers?
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05:25:02    1   A.   It does.

05:25:03    2   Q.   Lot of resources?

05:25:05    3   A.   I assume.

05:25:06    4   Q.   And they make good products, right?

05:25:09    5   A.   I believe so.

05:25:09    6   Q.   So from 1997 to 2016, Casio had the '450 patent,

05:25:16    7   correct?    For 19 years?

05:25:17    8   A.   Until -- I'm sorry, I didn't hear, what's the second

05:25:20    9   date?

05:25:20   10   Q.   From 1997 until 2016, Casio had the '450 patent?

05:25:24   11   A.   Correct.

05:25:25   12   Q.   19 years?

05:25:26   13   A.   Yes.

05:25:26   14   Q.   It's a long time in the electronics industry, isn't it?

05:25:29   15   A.   I don't have an opinion one way or the other.

05:25:33   16   Q.   And in all those years, 19 years Casio had the '450

05:25:38   17   patent, Casio never offered OLED display technology using

05:25:42   18   the technology described in that patent, correct?

05:25:44   19   A.   I don't know that.     They had formed a joint venture

05:25:50   20   with Toppan in 2012, and I don't know what came out of

05:25:54   21   that.

05:25:54   22   Q.   Do you know a Mr. O'Riordan at -- who used to be

05:25:58   23   Solas's chief technology officer?

05:26:01   24   A.   He is Solas's -- oh, he is a chief technology officer.

05:26:05   25   Q.   He's not an employee of Solas, right?
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05:26:07    1   A.   Not a direct employee.

05:26:08    2   Q.   And you understand he was deposed in this case as a

05:26:12    3   corporate representative of Solas?

05:26:12    4   A.   I don't know what capacity, but he was deposed.

05:26:14    5   Q.   He was asked:   Does Solas contend that Casio ever

05:26:18    6   manufactured or sold any products that practice the

05:26:20    7   invention of the '338 patent?

05:26:22    8            And he answered:      We're not aware, no.

05:26:24    9            Is that accurate?

05:26:25   10   A.   That's Casio.   I was speaking of the joint venture

05:26:29   11   between Toppan and Casio.

05:26:30   12   Q.   And he was asked:    Is Solas aware of any Casio products

05:26:33   13   that practice the invention of the '450 patent?

05:26:35   14            And he said:    No.

05:26:36   15            Is that correct -- is that accurate?

05:26:38   16   A.   I assume.   I don't have the transcript.

05:26:40   17   Q.   Solas isn't aware of Casio ever using the technology of

05:26:43   18   the '450 patent?

05:26:44   19   A.   I am not.

05:26:44   20   Q.   And you're here as the corporate representative of

05:26:46   21   Solas, correct?

05:26:46   22   A.   Yes, sir.

05:26:47   23   Q.   And you said that Solas investigated these patents for

05:26:51   24   many months, if not years, before purchasing them?

05:26:53   25   A.   We did.
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05:26:53    1   Q.   The '338 patent was filed for by Casio in 2005; is that

05:27:00    2   right?

05:27:00    3   A.   I believe so.   I don't have the patent in front of me.

05:27:02    4   Q.   And, again, it was sold in 2016?

05:27:05    5   A.   Yes, sir.

05:27:06    6   Q.   And in all those years, Casio never offered an OLED

05:27:10    7   product using the technology of the '338 patent, correct?

05:27:14    8   A.   I don't believe so.

05:27:14    9   Q.   Now, you understand that Samsung Galaxy phones with

05:27:19   10   OLED displays were released in the U.S. in 2009, right?

05:27:23   11   A.   I believe so.

05:27:24   12   Q.   And that was before Solas existed?

05:27:26   13   A.   Correct.

05:27:28   14   Q.   Casio owned the patents for seven years while Samsung

05:27:33   15   was selling its Galaxy phones with OLED displays, correct?

05:27:36   16   A.   Yes.

05:27:39   17   Q.   From 2009 to 2016?

05:27:41   18   A.   That sounds correct, yes, sir.

05:27:43   19   Q.   And Solas was formed in March 2016?

05:27:45   20   A.   Yes, sir.

05:27:45   21   Q.   And it bought the patents from Casio in April of 2016?

05:27:48   22   A.   It did.

05:27:49   23   Q.   And you understand that Casio had a patent broker

05:27:52   24   helping to advise it on the marketing and sale of its

05:27:55   25   portfolio of patents?
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05:27:56    1   A.   It did.

05:27:57    2   Q.   And it was selling some 724 patents relating to OLEDs?

05:28:01    3   A.   Yes.

05:28:02    4   Q.   Patent broker was a company called Quinn Pacific?

05:28:05    5   A.   Yes.

05:28:06    6   Q.   They're well respected, right?

05:28:08    7   A.   They are.

05:28:08    8   Q.   You're familiar with them?

05:28:09    9   A.   I am.

05:28:10   10   Q.   And their job was to help Casio get the best deal they

05:28:13   11   could for that 724 patents, correct?

05:28:16   12   A.   Yes.

05:28:16   13               THE COURT:     Let's make sure that the question is

05:28:18   14   complete before the answer is given and the answer is given

05:28:20   15   before the next question is asked.           You all are crowding

05:28:23   16   each other a little bit, all right?

05:28:25   17               THE WITNESS:     Sorry, Your Honor.

05:28:27   18               MR. LERNER:     Thank you, Your Honor.

05:28:27   19               THE COURT:     Let's continue.

05:28:29   20   Q.   (By Mr. Lerner)       Patent brokers generally get paid a

05:28:33   21   commission on the sales price, kind of like real estate

05:28:35   22   brokers, correct?

05:28:35   23   A.   They do.

05:28:36   24   Q.   And there were attorneys for Solas given access to

05:28:38   25   Casio confidential information as part of that process?
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05:28:40    1   A.    Yes.

05:28:41    2   Q.    You had experts helping you out?

05:28:43    3   A.    At what point in time?

05:28:47    4   Q.    In the valuation of the Casio portfolio?

05:28:48    5   A.    Yes.

05:28:49    6   Q.    And, in fact, you had Mr. Stephen Dell, who we heard

05:28:51    7   about this morning, your damages expert in this case, he

05:28:55    8   was advising Solas at that time on the value of Casio's

05:28:58    9   patents, correct?

05:28:58   10   A.    I'm not sure at what point in time, but he did advise

05:29:03   11   us.

05:29:03   12   Q.    You recall that he advised you in connection with the

05:29:07   13   purchase of that portfolio, correct?

05:29:09   14   A.    I believe so.

05:29:11   15   Q.    Mr. Dell has been advising Solas since all the way back

05:29:15   16   in 2016, correct?

05:29:16   17   A.    Yes, sir.

05:29:17   18   Q.    And Casio had its expert advisors, too, right?

05:29:22   19   A.    I don't know.

05:29:23   20   Q.    They had Quinn Pacific?

05:29:25   21   A.    They're the broker.

05:29:27   22   Q.    And they were working for Casio?

05:29:28   23   A.    They were.

05:29:29   24   Q.    And Casio with all the information it had, with its own

05:29:33   25   experience in the industry and its technology, it sold the
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05:29:36    1   entire set of 724 patents for $1.15 million?

05:29:41    2   A.   Correct.

05:29:41    3   Q.   And if you do the math, that's an average of a little

05:29:46    4   under $1600.00 per patent, correct?

05:29:49    5   A.   Yes.

05:29:49    6   Q.   Now, in 2013, did you hear that date mentioned in the

05:29:55    7   opening by your counsel?

05:29:56    8   A.   I did.

05:29:57    9   Q.   Solas didn't exist then, did it?

05:29:59   10   A.   It did not.

05:30:00   11   Q.   In May 2013, Casio was the owner of the '450 and '338

05:30:05   12   patents?

05:30:05   13   A.   Yes.

05:30:06   14   Q.   And we know that Casio was willing to not just license

05:30:10   15   but sell those patents with 722 more in 2016 for $1.15

05:30:19   16   million, correct?

05:30:20   17   A.   Correct.

05:30:20   18   Q.   Now, in 2018, a company called Microchip was auctioning

05:30:26   19   off a different set of patents, correct?

05:30:28   20   A.   Yes, sir.

05:30:29   21   Q.   And those related to touch sensors, correct?

05:30:32   22   A.   Yes.

05:30:33   23   Q.   Microchip is also a big company?

05:30:35   24   A.   They are.

05:30:35   25   Q.   And they had patent brokers helping them, too?
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05:30:38    1   A.   Yes, they did.

05:30:39    2   Q.   You mentioned Houlihan Lokey, I believe?

05:30:43    3   A.   Correct.

05:30:43    4   Q.   And Houlihan Lokey went around to try to create

05:30:46    5   interest in this portfolio for Microchip, right?

05:30:48    6   A.   I believe so.

05:30:49    7   Q.   There was a competitive bidding process in which Solas

05:30:53    8   participated?

05:30:54    9   A.   We bid on the patents.     I -- we didn't have visibility

05:30:59   10   as to who the other bidders were.

05:31:01   11   Q.   Do you know if there were other companies that were

05:31:03   12   interested in purchasing the portfolio?

05:31:05   13   A.   We were told there were.

05:31:06   14   Q.   And in late December of 2018, Microchip sold Casio --

05:31:12   15   or sold Solas that portfolio of 12 patents for $500,000.00?

05:31:16   16   A.   Correct.

05:31:18   17   Q.   And that's -- if you do the math -- under $42,000.00

05:31:22   18   per patent, correct?

05:31:24   19   A.   Correct.

05:31:24   20   Q.   And it's five months after buying those patents that

05:31:29   21   Solas is asking for -- Solas filed this lawsuit in which

05:31:35   22   you're asking for more than $35 million on just one, the

05:31:39   23   '311 patent, correct?

05:31:40   24   A.   I believe that's correct.

05:31:42   25   Q.   You filed this lawsuit about five months after you
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05:31:45    1   bought the patents, right?

05:31:46    2   A.   Yeah, I'm not sure of the timing, but I'll take your

05:31:49    3   representation as true.

05:31:50    4   Q.   Solas has a website, correct?

05:31:52    5   A.   We have a website, sure.

05:31:55    6            MR. LERNER:     And, actually, Your Honor, I'm going

05:31:56    7   to talk now about licensing.      This may be a good time to

05:32:00    8   seal the courtroom.

05:32:00    9            THE COURT:     If you're going to ask questions about

05:32:03   10   licensing, I'll seal the courtroom.

05:32:05   11            MR. LERNER:     Thank you, Your Honor.

05:32:06   12            THE COURT:     All right.    I'll order the courtroom

05:32:07   13   sealed and direct those present not subject to the

05:32:09   14   protective order to excuse themselves and remain outside

05:32:12   15   the courtroom until it's reopened and unsealed.

05:32:16   16            (Courtroom sealed.)

05:32:16   17            (This portion of the transcript is sealed

05:32:16   18            and filed under separate cover as

05:32:20   19            Sealed Portion No. 2.)

05:44:37   20            (Courtroom unsealed.)

05:44:38   21            THE COURT:     All right.    For the record, the

05:45:02   22   courtroom is unsealed and reopened.

05:45:05   23            Please continue, counsel.

05:45:06   24            MS. FAIR:     Thank you, Your Honor.

05:45:08   25   Q.   (By Ms. Fair)    We talked a little bit earlier -- we
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05:45:10    1   heard you talking about some of the licenses that existed

05:45:13    2   to the Casio portfolio before you had it.         We saw that

05:45:16    3   Solas was talking about OLED displays, smartphones, you

05:45:21    4   know, other companies and other spaces.         Can you tell us

05:45:23    5   some examples of some of those companies?

05:45:26    6   A.   Yes.    Actually, if you pull up the license agreement --

05:45:31    7   sorry, the sale agreement, it's in the back of the sale

05:45:34    8   agreement.     But there were a host of companies, Qualcomm,

05:45:38    9   Microsoft.     There were just many, many companies that they

05:45:41   10   had licenses to in all those areas in the phone, in the

05:45:45   11   camera market.     Almost every major camera manufacturer was

05:45:49   12   licensed.

05:45:50   13   Q.   And so -- I'm sorry, go ahead, Mr. Padian.

05:45:52   14   A.   No.    There were many, many companies.      What we put in

05:45:55   15   the website, we try to be accurate as to the areas in which

05:45:59   16   the portfolio had been licensed.       You probably should have

05:46:04   17   been a little bit -- you know, that they were previously

05:46:06   18   licensed or licensed by Casio.

05:46:10   19   Q.   What does it tell you that companies like Qualcomm and

05:46:13   20   some of those others who had already licensed the Casio

05:46:17   21   portfolio, what does that tell you about the strength of

05:46:19   22   the portfolio itself, even before it got to your hands?

05:46:22   23   A.   It validates the strength of the portfolio.          It says

05:46:26   24   that these companies who have also great engineers see the

05:46:31   25   need to take a license and to utilize that technology.
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05:46:35    1   Q.   I want to talk a little bit about the sale of the Casio

05:46:39    2   portfolio to Solas.

05:46:41    3            We heard some questions about Quinn Pacific, and

05:46:44    4   they were trying to get the best deal for Casio.           Do you

05:46:48    5   know whether Quinn Pacific had access to all of the

05:46:53    6   confidential information that Samsung has provided here?

05:46:56    7   A.   They did not.

05:46:57    8   Q.   Do you know whether Quinn Pacific had spent millions

05:47:01    9   doing teardowns that Solas did?

05:47:02   10   A.   They certainly did not.

05:47:04   11   Q.   Do you know whether Casio knew of Samsung's use of

05:47:11   12   their technology?

05:47:12   13   A.   They did not.

05:47:14   14            MR. LERNER:    Objection, Your Honor, calls for

05:47:15   15   speculation.

05:47:17   16            THE COURT:    Well, he answered based on his own

05:47:20   17   personal knowledge, and your objection is untimely.            It's

05:47:24   18   overruled.

05:47:25   19            Let's continue.

05:47:27   20   Q.   (By Ms. Fair)    How do you know that Casio didn't know

05:47:28   21   about Samsung's use of their technology?

05:47:30   22   A.   Two reasons.    The first is they presented no evidence

05:47:34   23   of infringement by Samsung.      So when we first looked at it,

05:47:38   24   all this showed was infringement by LG.         It was very

05:47:42   25   cursory infringement.     We really had to dig.
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05:47:44    1               We purchased these patents really not knowing for

05:47:48    2   sure that Samsung had infringed them.         We believed, but we

05:47:52    3   didn't really know until we had spent the amount of money

05:47:54    4   we had spent.

05:47:56    5               The second reason is we spoke to one of the

05:47:58    6   inventors.      We presented to them what we thought was the

05:48:01    7   Samsung infringement, and he was shocked.         He had no idea.

05:48:04    8   Q.   When was that?

05:48:05    9   A.   That was prior to -- that was just after purchasing the

05:48:08   10   patents, maybe a few months after purchasing the patents.

05:48:12   11   Q.   We heard some criticism of Solas business model because

05:48:17   12   you don't make a product?

05:48:18   13   A.   Correct.

05:48:23   14   Q.   Is this business model of buying patents and then

05:48:28   15   pursuing licensing revenues for those patents, are there

05:48:33   16   other companies that do that?

05:48:34   17   A.   Yes.

05:48:35   18   Q.   Can you give us an example?

05:48:37   19   A.   Samsung.    Samsung does the same exact thing.        In fact,

05:48:41   20   they have a company called Intellectual Keystone Properties

05:48:48   21   that they funded that goes out and buys patents to seek to

05:48:51   22   license those patents and enforce those patents.

05:48:53   23   Q.   So do you think it's fair for Samsung to stand up here

05:48:57   24   and minimize the inventions in this case because Solas

05:49:03   25   doesn't make a product?
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05:49:04    1   A.   No.

05:49:05    2               MR. LERNER:     Objection, Your Honor, argumentative.

05:49:07    3               THE COURT:     Calls for an opinion, and it's

05:49:09    4   sustained.

05:49:10    5   Q.   (By Ms. Fair)       Mr. Padian, does Solas own the property

05:49:14    6   right, do they own the deed to the inventions in this case?

05:49:17    7   A.   Yes, we do.

05:49:17    8   Q.   Do you own it any less because you don't make a

05:49:21    9   product?

05:49:21   10   A.   Absolutely not.

05:49:22   11               MS. FAIR:     I'll pass the witness.

05:49:23   12               THE COURT:     Additional cross, Mr. Lerner?

05:49:25   13               MR. LERNER:     Very briefly, Your Honor.

05:49:30   14               THE COURT:     Go ahead.

05:49:34   15               MR. LERNER:     Thank you.

05:49:34   16                             RECROSS-EXAMINATION

05:49:35   17   BY MR. LERNER:

05:49:35   18   Q.   Mr. Padian, you mentioned Casio had licensed some

05:49:39   19   patents in its portfolio?

05:49:40   20   A.   Yes, sir.

05:49:40   21   Q.   For selling it?

05:49:41   22   A.   Yes.

05:49:42   23   Q.   And Casio was aware of the value of those patents -- of

05:49:44   24   those licenses?

05:49:45   25   A.   I don't -- I can't speculate to what Casio knew.
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05:49:50    1   Q.   They were licenses that Casio had entered into,

05:49:53    2   correct?

05:49:53    3   A.   Correct.

05:49:53    4   Q.   So Casio, of course, is aware of those licenses,

05:49:56    5   correct?

05:49:56    6   A.   Yes.

05:49:57    7   Q.   And with that knowledge and its knowledge of the

05:49:59    8   market, it sold the entire set of 724 patents to Solas for

05:50:04    9   $1.15 million, correct?

05:50:06   10   A.   No, sir.

05:50:07   11   Q.   Solas --

05:50:08   12   A.   You said knowledge in the market.       They didn't have

05:50:11   13   knowledge in the market.      Knowledge in the market would

05:50:13   14   have been Samsung's -- the extent of Samsung and LG's

05:50:16   15   infringement.     They had no idea of Samsung's infringement.

05:50:19   16   Q.   Sir, it's your testimony that Casio did not know the

05:50:22   17   OLED market?

05:50:24   18   A.   They did not know the market as it existed that

05:50:28   19   companies such as Samsung, to the extent they were using

05:50:31   20   the technology.     No, they did not know.

05:50:33   21   Q.   And am I right that you said Casio presented no

05:50:37   22   evidence to you or others that Samsung had infringed?

05:50:37   23   A.   That's correct, they had no idea of Samsung's

05:50:42   24   infringement.

05:50:42   25   Q.   They had presented no evidence to you that they
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05:50:45    1   infringed, that there was any infringement, correct?

05:50:47    2   A.   Correct.

05:50:48    3            MR. LERNER:     Thank you, Your Honor.       That's all I

05:50:51    4   have.

05:50:51    5            THE COURT:     All right.    Is there redirect --

05:50:53    6   further redirect?

05:50:54    7            MS. FAIR:     No, Your Honor.

05:50:55    8            THE COURT:     All right.    Mr. Padian, you may step

05:50:57    9   down.

05:50:58   10            THE WITNESS:     Thank you, Your Honor.

05:50:59   11            THE COURT:     Ladies and gentlemen, I'm not going to

05:51:12   12   have the Plaintiffs call their next witness.          It's almost

05:51:15   13   6:00 o'clock.

05:51:15   14            We're going to stop for the day at this point.

05:51:18   15            If you will, members of the jury, when you leave

05:51:21   16   the courtroom in a few minutes, please take your notebooks

05:51:24   17   with you and leave them on the table in the jury room.

05:51:29   18   You're welcome to take your face shields with you or leave

05:51:33   19   them there and have them there in the morning.           It's

05:51:36   20   strictly up to you.

05:51:37   21            As you leave this evening, I want to remind you of

05:51:41   22   a few things.   Unless you live alone, you're going to get

05:51:46   23   asked when you walk through the door, what happened today?

05:51:46   24   Remember my admonition to you.       Blame it on me.      But don't

05:51:51   25   even try to answer that question.
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05:51:52    1              It is critical that you not communicate with

05:51:55    2   anyone in any way about what's happened in this trial and

05:51:59    3   that you follow all the other instructions I've given you.

05:52:02    4   I'm going to ask you to be back in the jury room assembled

05:52:06    5   and ready to go by 9 -- excuse me, by 8:30 in the morning.

05:52:10    6   We'll try to follow more of the schedule I talked about

05:52:13    7   tomorrow and through the remainder of the week.           Please

05:52:17    8   travel safely to your homes.

05:52:19    9              And with that, the jury is excused for the

05:52:21   10   evening.

05:52:21   11              COURT SECURITY OFFICER:     All rise.

05:52:25   12              (Jury out.)

05:53:03   13              THE COURT:    Be seated, please.

05:53:05   14              Counsel, let me remind you of your meet-and-confer

05:53:07   15   obligations.    Let me remind you of the discussion we had in

05:53:12   16   chambers this morning about a more accurate, fulsome, and

05:53:16   17   complete rendition of disputes that remain overnight by way

05:53:20   18   of both sides' positions being set forth in any notebook

05:53:25   19   that's delivered to chambers, and speaking with a single

05:53:29   20   joint voice to the Court rather than multiple,

05:53:33   21   individualized emails overnight at various wee hours of the

05:53:41   22   morning.

05:53:42   23              If there are disputes that have not been able to

05:53:44   24   be resolved, we will take them up, and I will be in

05:53:47   25   chambers not later than 7:30 in the morning.          And we'll do
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05:53:51    1   our best to start with the jury at 8:30 tomorrow.

05:53:53    2             Remember, before I bring the jury in tomorrow, I

05:53:57    3   will first ask outside of their presence for a

05:54:00    4   representative of each side to go to the podium and read

05:54:03    5   into the record those items from the list of pre-admitted

05:54:05    6   exhibits that have been used during today's portion of the

05:54:09    7   trial.    And I'll follow that practice on a rolling basis

05:54:12    8   throughout the remainder of the trial.

05:54:14    9             Short of a few seconds, we have used one whole

05:54:19   10   hour of trial time this afternoon, which is allocated 35

05:54:24   11   minutes to Plaintiff and 25 minutes to Defendant, averaging

05:54:32   12   and rounding just a little bit.

05:54:35   13             Plaintiffs, tell me who you intend to call as your

05:54:39   14   first witness tomorrow.

05:54:41   15             MS. FAIR:    Mr. Jalil Shaikh.

05:54:43   16             THE COURT:     And what's your estimated time for

05:54:45   17   direct?

05:54:46   18             MS. FAIR:    45 minutes.

05:54:47   19             THE COURT:     All right.   Am I correct, counsel,

05:54:52   20   that the disputes over deposition designations that you

05:54:57   21   brought me this morning still remain, or have you had an

05:55:01   22   opportunity to work those out during the course of the day?

05:55:05   23             MR. MIRZAIE:     I believe they still remain,

05:55:07   24   Your Honor.

05:55:07   25             THE COURT:     All right.   I'm not going to keep you
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05:55:12    1   here this evening.      We'll take those up first thing in the

05:55:15    2   morning.    When do you anticipate putting on that deposition

05:55:18    3   witness.

05:55:19    4              MR. MIRZAIE:     Right after Mr. Shaikh.     So second

05:55:21    5   witness tomorrow morning.

05:55:21    6              THE COURT:     Well, we'll resolve them before we

05:55:25    7   begin with the first witness.          Hopefully, any adjustments

05:55:29    8   can be done during that intervening period of time.

05:55:32    9              MR. MIRZAIE:     I'm sure they can.

05:55:33   10              THE COURT:     Is there anything else that the

05:55:35   11   parties are aware of that the Court needs to know about

05:55:37   12   before we recess for the evening?

05:55:39   13              MR. FENSTER:     Your Honor, we'd like some guidance

05:55:44   14   as to physical demonstratives and handing them to the

05:55:47   15   witness, COVID protocols, what -- what can we do?           Is

05:55:53   16   there --

05:55:54   17              THE COURT:     It's going to depend on what you're

05:55:56   18   talking about, Mr. Fenster.

05:55:58   19              MR. FENSTER:     If we want to hand an actual device

05:56:00   20   or physical device to the jury to allow them to touch it,

05:56:05   21   to see it, not necessarily a phone, but a physical

05:56:09   22   demonstrative, are there any -- one, is that allowed given

05:56:13   23   COVID protocols?     And, two, how can we make arrangements to

05:56:18   24   have some kind of sanitizer or something?

05:56:21   25              THE COURT:     All right.    With regard to a tangible
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05:56:25    1   demonstrative, it is not my practice to allow that to be

05:56:28    2   handed to the jury and passed around.         It's a jury aid.

05:56:33    3   It's a demonstrative for use with the witness.           If you want

05:56:36    4   to use a demonstrative with the witness and you need to

05:56:39    5   approach the witness and deliver up the demonstrative,

05:56:42    6   that's fine, assuming it's your witness.

05:56:46    7             You need to make sure your witness knows about

05:56:48    8   your intention to use that.      If the witness wants to have

05:56:51    9   on gloves or some other precaution, your witness can

05:56:55   10   provide for their own protection in that regard.

05:56:57   11             I assume we're talking about smartphones or

05:57:00   12   something of that size?     You're not talking about an axle

05:57:05   13   off an 18-wheeler as a demonstrative.

05:57:08   14             MS. FAIR:    I was specifically thinking of the

05:57:09   15   patent itself.

05:57:11   16             THE COURT:    Well, the patent itself, I assume, is

05:57:13   17   an exhibit and not a demonstrative.        But if you'd like to

05:57:18   18   approach and hand it up to a witness, I see no problem with

05:57:20   19   that.

05:57:22   20             Again, just make sure your witnesses know what you

05:57:24   21   intend to do in that regard.      If there are going to be

05:57:29   22   similar demonstratives used on cross, then Defendants need

05:57:33   23   to disclose that so the witness is not surprised or put off

05:57:37   24   by hand -- by being handed something they don't know to

05:57:40   25   expect.   You just need to be upfront with each other about
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05:57:42    1   what's going to happen in that regard, all right?

05:57:45    2           Are there other questions from Plaintiff?

05:57:46    3           MR. FENSTER:     No, Your Honor.

05:57:48    4           THE COURT:     Anything from Defendants?

05:57:49    5           MR. LERNER:     Your Honor, we may have some physical

05:57:51    6   exhibits, not demonstratives, but actual exhibits.            Would

05:57:56    7   those be treated the same way as you mentioned for

05:57:59    8   demonstratives?

05:57:59    9           THE COURT:     Treated the same way.

05:58:01   10           MR. LERNER:     Thank you.

05:58:02   11           THE COURT:     All right.     Hearing nothing further, I

05:58:03   12   will see you in the morning, counsel.         Have a good evening.

05:58:06   13   Be diligent and professional and unrelenting in your

05:58:10   14   meet-and-confer efforts this evening.

05:58:11   15           The Court stands in recess.

05:58:13   16           COURT SECURITY OFFICER:        All rise.

05:58:16   17           (Recess.)

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       1                            CERTIFICATION

       2

       3              I HEREBY CERTIFY that the foregoing is a true and

       4   correct transcript from the stenographic notes of the

       5   proceedings in the above-entitled matter to the best of my

       6   ability.

       7

       8

       9    /S/ Shelly Holmes                              3/1/2021
           SHELLY HOLMES, CSR, TCRR                        Date
      10   FEDERAL OFFICIAL REPORTER

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